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U.S. Department of Justice

 

 

United States Attorney

District of Maryland
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Assistant United States Attorney 36S. Charles Street MAIN: 410-209-4800
Roann.Nichols@usdoj.gov Baltimore, MD 21201-3119 FAX: 410-962-2310

April 26, 2019

‘Melissa Bayer Tearney
Choate Hall & Stewart LLP
Two International Place
Boston, MA 02110

Re: United States v. ACell, Inc.,
Criminal No. ELH-19- 0282(p.MD)

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Dear Counsel: poo
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This letter confirms the plea agreement (this “Agreement”) that has been offered to your © :
client, ACell, Inc. (hereinafter “Defendant”), by the United States Attorney’s Office for the District - '
of Maryland (“this Office”) and the United States Department of Justice Consumer; Protection - v4
Branch (hereinafter jointly “the United States”). If the Defendant accepts this offer, please have ©. 2
the Defendant execute it in the spaces provided below. The plea agreement is elitered intaynd -;
will be submitted to the Court pursuant to Federal Rule of Criminal Procedure 11(¢))(C).- 4
If this offer has not been accepted within 10 calendar days of the date of this Agreement, it will be
deemed withdrawn. The terms of the Agreement are as follows:

Offense of Conviction

1. The Defendant agrees to plead guilty to Count One of an Information to be filed
against the Defendant, which will charge the Defendant with Failure and Refusal to Report
Medical Device Removal, in violation of 21 U.S.C. §§ 331(q)(1)(B), 360i(g), and 333(a)(1), a
Class A Misdemeanor. The Defendant admits that the Defendant is, in fact, guilty of the offense
and will so advise the Court.

Elements of the Offense

2. The elements of the offense to which the Defendant has agreed to plead guilty, and
which the United States would prove if the case went to trial, are as follows: That on or about the
time alleged in the Information, in the District of Maryland, the Defendant (1) manufactured a
device under the Federal Food, Drug and Cosmetic Act, to wit, MicroMatrix Powder Wound
Dressing; (2) removed the device from its point of use to some other location for repair,
modification, adjustment, relabeling, destruction, or inspection; (3) undertook the removal of the

 
 

 

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device to reduce a risk to health posed by the device; and (4) failed to report removal of the device
to the United States Food and Drug Administration.

 

 

 

 

 

 

 

 

 

Penalties
3. The maximum penalties provided by statute for the offense to which the Defendant
is pleading guilty are as follows:
Count Statutes Minimum Maximum Maximum Special
Prison Prison Fine Assessment
$200,000.00 or
not more than the
21 U.S.C. S years’ | & ose gain or
1 $§ 331(q)01)(B), N/A probation, twice the gross $125.00, 18 U.S.C.
360i(g), 18 ULS.C. . § 3013(aj(1)(B) Gi)
333(a)(1) § 3561(c)(2) loss relating to
a} the offense,
18 U.S.C.
§ 3571 (c)(5), (d).
a. Restitution: The Court may order the Defendant to pay restitution
pursuant to 18 U.S.C. §§ 3663, 3663A, and 3664.
b. Payment: Ifa fine or restitution is imposed, it shall be payable immediately,

unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

c. Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

d. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant .
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. “Until the money judgment is satisfied, the Defendant
authorizes the United States to evaluate the Defendant’s ability to pay, and to request and review
the Defendant’s federal and state income tax returns. The Defendant agrees to complete and sign
a copy of IRS Form 8821 (relating to the voluntary disclosure of federal tax return information)
and a financial statement in a form provided by the United States.

 
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Waiver of Rights and Defenses

4, The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel. A
judge, without a jury, could conduct the trial if the Defendant, the United States, and the Court all

agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be mnocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

c. If the Defendant went to trial, the government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government’s witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in its defense, the Defendant would have the subpoena power of the Court to compel the witnesses.

to attend.

d. The Defendant would have the right to testify in the Defendant’s own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

e. If the Defendant were found guilty after a trial, the Defendant would have
the nght to appeal ihe verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court’s decisions.

f. By pleading guilty, the Defendant will be giving up these rights, except the
right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph below, to
appeal the sentence. By pleading guilty, the Defendant understands that the Defendant may have
to answer the Court’s questions both about the rights being given up and about the facts of the
case. Any statements that the Defendant makes during such a hearing would not be admissible
against the Defendant during a trial except in a criminal proceeding for perjury or false statement.

g. If the Court accepts the Defendant’s plea of guilty, the Defendant wi!l be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the

Defendant guilty.

 
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h. Should the Defendant move to withdraw or otherwise challenge the
Defendant’s guilty plea at any time, should the Defendant breach this Agreement, or should the
Court reject the Defendant’s guilty plea for whatever reason, the Defendant agrees to waive any
defenses based upon the statute of limitations, any protection against pre-indictment delay, and the
Speedy Trial Act with respect to any and all charges that could have been timely brought or
pursued as of the date of this Agreement.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guideline
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. §§ 3551-3742 (excepting 18 U.S.C. §§ 3553(b)(1) and 3742(e)) and 28
U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. The United States and the Defendant stipulate and agree to the Statement of Facts
set forth in Attachment A, which is incorporated by reference herein, and to the following
sentencing guidelines.

a. The United States and the Defendant further agree that the applicable base
offense level is 6 pursuant to United States Sentencing Guidelines (“U.S.S.G.”) §§ 2N2.1 and
2X5.2.

b. The United States and the Defendant further agree that the base fine is
$31,000,000, pursuant to U.S.S.G. § 8C2.4(a)(2), because this is the pecuniary gain to the
organization from the offense.

c. The United States and the Defendant further agree that, pursuant to U.S.S.G.
§ 8C2.5, the culpability score is 6, which is determined as follows:

i. The base culpability score is 5, pursuant to U.S.S.G. § 8C2.5(a);

it. The culpability score is increased by 3 points, pursuant to U.S.S.G.
§ 8C2.5(b)(3)(A), because the Defendant had 200 or more employees and individuals within high-
level personnel of the organization participated in, condoned, or were willfully ignorant of the
offense, and tolerance of the offense by substantial authority personnel was pervasive throughout
the organization;

lil. The culpability score is decreased by 2 points, pursuant to U.S.S.G.,
§ 8C2.5(g)(2), because the Defendant fully cooperated in the investigation and clearly
demonstrated recognition and affirmative acceptance of responsibility for its criminal conduct.

 
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d. The United States and the Defendant further agree that the multiplier range
associated with a culpability score of 6 is 1.20 — 2.40, pursuant to U.S.S.G. § 8C2.6,

€. The United States and the Defendant further agree that the advisory
guideline fine range is $37,200,000 to $74,400,000, pursuant to U.S.S.G. § 8.C2.7.

f. The United States and the Defendant further agree that the maximum fine
is $62,000,000, pursuant to 18 U.S.C § 3571(d).

7, The United States and the Defendant further agree that while the fine provisions of
the U.S.S.G. do not apply to organizational defendants that are convicted of misdemeanor
violations of the Federal Food, Drug, and Cosmetic Act, U.S.S.G. § 8C2.1, the agreed disposition
is consistent with the U.S.S.G. and takes into account the Defendant’s conduct under 18 U.S.C.
§§ 3553 and 3572 and U.S.S.G. § 8C2.10.

Rule 11(c)(1}(C) Plea

8. The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
11(c}{1})(C) that a criminal fine in the amount of $3,000,000.00 is the appropriate disposition of
this case taking into consideration the nature and circumstances of the offense, the Defendant’s
criminal history, and all of the other factors set forth in 18 U.S.C. § 3553(a). The parties further
stipulate and agree to payment of the fine as follows:

a. $500,000.00 to be paid within three business days of when the judgment is
issued and the remaining $2,500,000.00 to be paid in twenty quarterly installments over five years,
with the first quarterly payment to occur within ninety calendar days of the date of when the
judgment is issued and the remaining nineteen payments due every ninety days thereafter.
Payment of interest from the first payment date on the unpaid principal balance at the rate of 2.875
percent per annum is payable with each quarterly installment of principal, as follows:

 

 

 

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2.8750%
Quarter Payment interest Principat Balance
$3,000,000.00
Initial Payment $500,000.00 $0.00 $500,000.00 $2,500,000.00
Quarter 1 $119.4 18.75 $17,968.75 $101,150.00  $2,398,850.00
Quarter 2 $118,391.73 $17,241.73 $101,150.00 $2,297,700.00
Quarter 3 $117,664.72 = $16,514.72 $101,150.00 $2,196,550.00
Quarter 4 $116,937.70 $15,787.70 $101,150.00 $2,095,400.00
Quarter 5 $146,004.22 $15,060.69 $130,943.53 $1,964,456.47
Quarter 6 $145,063.06 $14,119.53 $130,943.53 $1,833,512.93
Quarter 7 $144,121.90 $13,178.37 $130,943.53 $1,702,569.40
Quarter 8 $143,180.75 $12,237.22 $130,943.53 $1,571,625.86
Quarter 9 $142,239.59 $11,296.06 $130,943.53 $1,440,682.33
Quarter 10 $141,298.43 $10,354.90 $130,943.53 $1,309,738.80
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Quarter 11] $140,357.28 $9,413.75 $130,943.53 $1,178,795.26
Quarter 12 $139,416.12 $8,472.59 $130,943.53 $1,047,851.73
Quarter 13 $138,474.96 $7,531.43 $130,943.53 $916,908.20
Quarter 14 $137,533.81 $6,590.28 $130,943.53 $785,964.66
Quarter 15 $136,592.65 $5,649.12 $130,943.53 $655,021.13
Quarter 16 $135,651.49 $4,707.96 $130,943.53 $524,077.59
Quarter 17 $134,710.34 $3,766.81 $130,943.53 $393,134.06
Quarter 18 $133,769.18 $2,825.65 $130,943.53 $262,190.53
Quarter 19 $132,828.02 $1,884.49 $130,943.53 $131,246.99
Quarter 20 $132,190.33 $943.34 $131,246.99 $0.00
$3,195,545.09 $195,545.09 $3,000,000.00
b. The parties stipulate and agree that the fine in subparagraph (a) above is less

than the advisory guidelines fine range but is nevertheless a reasonable sentence, taking into
consideration the factors set forth in 18 U.S.C. §§ 3553(a) and 3572, including that the Defendant
has asserted the inability to pay the minimum advisory guidelines fine without substantially
jeopardizing its continued existence. Based on a review of the Defendant’s financial statements
and tax returns by the United States, pursuant to U.S.S.G. § 8C3.3(b), there is a basis for the
imposition of a fine below that otherwise recommended by U.S.5.G. § 8C2.7. The United States
agrees that the Defendant is not able to pay and, even with the use of a reasonable installment
schedule, is not likely to become able to pay the minimum fine required by U.S.S.G. § 8C2.7(a).

c. The above-referenced agreed-upon sentence is contingent upon the
execution of a Civil Setthkement Agreement (‘Settlement Agreement”) between the Defendant and
the United States, which is being signed contemporancously with this Agreement and is appended
as Attachment B. The terms of the Settlement Agreement require the Defendant to pay the United
States and the Medicaid Participating States collectively $12,000,000.00 (“Settlement Amount”),
of which $11,830,020.00 is the federal portion (“Federal Settlement Amount’). The initial
payment of Five-Hundred Thousand Dollars ($500,000.00}, plus accrued interest at the rate of
2.875 percent accrued since September 1, 2018, shall be paid to the United States no later than
seven (7) days after (i) the Scttlement Agreement is fully executed by the parties and delivered to
the Defendant’s attorneys, or (ii) the Court accepts a Fed. R. Crim. P. 11(c)(1)(C) guilty plea as to
the Defendant and imposes the agreed-upon sentence, whichever occurs later. Thereafter, the
balance of the Federal Settlement Amount (plus accrued interest at the rate of 2.875 percent) shall
be payable to the United States pursuant to instructions from the Civil Division of the United States
Department of Justice, in twenty quarterly installments over five years, with the first quarterly
payment to occur within ninety calendar days of the date of the initial payment. $169,980.00
(“State Settlement Amount”) plus accrued interest shall be payable to the Medicaid Participating
States pursuant to instructions from the Medicaid Participating States.

d. The payments set forth above in Paragraphs 8.a. and 8.c. are subject to
acceleration if a sale of the Defendant occurs before the expiration of the payment term.

e. The parties agree that the Settlement Agreement in United States of

America rel. John Murtaugh v. ACell, Inc., Civil No. ELH-13-1820 (D. Md.) and United States of

America rel. Ali Mahdavi v. ACell, Inc., et al., recompenses the Medicare Trust Fund for false
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claims that the Defendant caused to be submitted pursuant to conduct described in the Settlement
Agreement.

f. The parties agree that restitution is not required or administratively feasible
in this case. The statutory basis for ACcli’s guilty plea is the Federal Food, Drug, and Cosmetic
Act, for Failure and Refusal to Report Medical Device Removal, under 21 U.S.C. §§ 331(q)(1)(B),
360i(g), and 333(a)(1). No statutory basis exists for an order of restitution for that offense under
18 U.S.C. §§ 3663(a)(1)(A) or 3663A(c)(1). The parties also are unaware of any persons “directly
and proximately harmed as a result of the commission of an offense for which restitution may be
ordered” or “directly and proximately harmed as a result of the commission of a Federal
offense” as harm reported from the use of ACell’s devices has not been established as directly and
proximately traceable to the offense conduct for which ACeli is pleading guilty. 18 U.S.C.
§§ 3663(a)(2), 3663A(a)(2), 3771(e)(2). In re: Jane Doe, 264 Fed. Appx. 260, 263 (2007), citing
United States v. Blake, 81 F.3d 498, 506-07 (4th Cir. 1996); United States v. Guidant LLC, 708
F.Supp.2d 903, 911-15 (D. Minn. 2010). Furthermore, the parties agree that attempting to fashion
an order to provide restitution to any such possible persons would result in complication and
prolongation of the sentencing process that would outweigh the need to provide restitution to any
such possible persons. 18 U.S.C. § 3663(a)(1)(B)(i1).

g. The Defendant agrees to establish and maintain a Compliance and Ethics
Program to govern its business operations pursuant to the provisions set forth in Attachment C of
this Agreement.

h. This Agreement does not affect the Court’s discretion to impose any lawful
term of probation or to set any lawful conditions of probation. 18 U.S.C. § 3561(a); U-S.S.G. §
8D.1.

9. In the event that the Court rejects this plea agreement, except under the

circumstances noted below, either party may elect to declare the Agreement null and void. Should
the Defendant so elect, it wiil be afforded the opportunity to withdraw from the plea pursuant to
the provisions of Federal Rule of Criminal Procedure 11(c){5).

10. The Defendant may seek sentencing by the Court immediately following the
Rule 11 plea hearing. The United States will not object to the Court proceeding to sentencing the
Defendant immediately following the Rule 11 plea hearing or in the absence of a Presentence
Report if, in advance of the Rule 11 plea hearing, the Defendant requests immediate sentencing to
be held on the same day as the Rule 11 plea hearing. The Defendant understands that the decision
whether to proceed immediately with sentencing following the Rule 11 plea hearing, and to do so
without a Presentence Report, is exclusively that of the Court.

Oblivations of the Parties

11. At the time of sentencing, the United States and the Defendant will jointly request
that the Court accept the stipulated sentence of a fine in the amount of $3,000,000.00, as set forth
above. The United States and the Defendant reserve the right to advocate for a reasonable period
of probation considering any appropriate factors under 18 U.S.C. § 3553(a). The United States
and the Defendant reserve the right to bring to the Court’s attention all information with respect to

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the Defendant’s background, character, and conduct that the United States or the Defendant deem
relevant to sentencing, including the conduct that is the subject of the Information and the

Statement of Facts.

Defendant’s Obligations

12, a Between now and the date of the sentencing, the Defendant will not engage
in conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any
federal, state, or local law: will acknowledge guilt to the Court and the probation officer, will be
truthful in any statement to the Court, the United States, law enforcement agents, and probation
officers; will cooperate in the preparation of the presentence report; and will not move to withdraw
from the plea of guilty or from this Agreement. The Defendant will abide by all terms and

obligations of this Agreement.

b. If the Defendant engages in conduct prior to sentencing that violates the
above paragraph of this Agreement, and the Court finds a violation by a preponderance of the
evidence, then: (i) the United States will be free from its obligations under this Agreement; (ii) the
United States may make sentencing arguments and recommendations different from those set out
in this Agreement, even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (iti) in
any criminal or civil proceeding, the United States will be free to use against the Defendant all
statements made by the Defendant and any of the information or materials provided by the
Defendant, including statements, information, and materials provided pursuant to this Agreement,
and statements made during proceedings before the Court pursuant to Rule 11 of the Federal Rules
of Criminal Procedure. A determination that the United States is released from its obligations
under this Agreement will not permit the Defendant to withdraw the guilty plea. The Defendant
acknowledges that the Defendant may not withdraw the Defendant’s guilty plea—even if made
pursuant to Rule 1 1(c)(1)(C)—if the Court finds that the Defendant breached the Agreement. In
that event, neither the Court nor the United States will be bound by the specific sentence or
sentencing range agreed and stipulated to herein pursuant to Rule 11(c)(1)(C).

c, The Defendant acknowledges that its prior, ongoing, and future cooperation
is an important and a material factor underlying the United States’ decision to enter into this
Agreement. The Defendant agrees to cooperate fully and truthfully with the United States’
investigation of individuals and entities involving the subject matters identified in Paragraph 15.
Upen reasonable notice, the Defendant shall encourage, and agrees will not impair, the cooperation
of its directors, officers, and employees, and shall use its best efforts to make available, and
encourage, the cooperation of former directors, officers, and employees for interviews and
testimony, consistent with the rights and privileges of such individuals. The Defendant further
agrees to furnish to the United States, upon request, complete and unredacted copies of all non-
privileged documents, reports, memoranda of interviews, and records in its possession, custody,
or control concerning any investigation that it has undertaken, or that has been performed by
another on its behalf, involving any of the subject matters investigated by the United States in
connection with the conduct encompassed by this Agreement.

d. The Defendant’s obligations to cooperate do not extend to or include
privileged information, except to the extent that the Defendant knowingly and voluntarily elects
or has elected previously to waive privilege.

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13. The United States expressly reserves the right to prosecute any individual,
including but not limited to present and former officers, directors, employees, and agents of the
Defendant, in connection with the conduct encompassed by this Agreement, within the scope of
the investigation, or known to the United States.

14. The United States may, at its sole option, be released from its commitments under
this Agreement if at any time after the Defendant’s execution of this Agreement, the Defendant
fails to abide by all terms and obligations of the Agreement, or if the plea entered pursuant to this
Agreement is vacated, reversed, or set aside for any reason.

Apreement Not to Further Prosecute Other Offenses the Defendant May Have Committed

15. Under Fed. R. Crim. P. 11(c){1)(A), the United States agrees that, other than the
charge in the Information, it shall not further prosecute the Defendant for any additional federal
criminal charges or charges under the Food Drug and Cosmetic Act with respect to the conduct
between the years 2011 and 2017 that falls within the scope of (1) the Information to which the
Defendant pleads guilty; (2) the Statement of Facts, Attachment A hereto; or (3) the Settlement
Agreement, Attachment B hereto. The United States does not decline criminal prosecution of the
Defendant for any other conduct beyond that set forth above. This declination is expressly
contingent upon (1) the guilty plea of the Defendant to the Information being accepted by the Court
and not withdrawn or otherwise challenged; and (2) the Defendant’s performance of all of its
obligations as set forth in this Agreement and the Civil Settlement Agreement. If the Defendant’s
guilty plea is not accepted by the Court or is withdrawn for any reason, or the Defendant should
fail to perform any obligation under this Agreement or the Civil Settlement Agreement, this
declination of prosecution shall be null and void.

Waiver of Appeal

16. In exchange for the concessions made by the United States and the Defendant in
this Agreement, the United States and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or
any other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
the statutes to which the Defendant is pleading guilty are unconstitutional, or on the ground that
the admitted conduct does not fall within the scope of the statutes, to the extent that such challenges
legally can be waived.

b. The Defendant and the United States knowingly and expressly waive all
rights conferred by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any fine,
term of probation, or order’ of restitution) for any reason (including the establishment of the
advisory sentencing guidelines range, the weighing of the sentencing factors, and any
constitutional challenges to the calculation and imposition of any fine, order of forfeiture, order of
restitution, and term or condition of probation), except as follows:
 

 

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i. The Defendant reserves the right to appeal any sentence that exceeds
the statutory maximum; and

ii. The United States reserves the right to appeal any sentence below a
statutory minimum.

c. The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from the United States or any investigating agency.

Tax Liabilit

17. The Defendant understands that this Agreement does not resolve any civil tax
liability that the Defendant may have, and that this Agreement is with the United States Attorney's
Office and the United States Department of Justice Consumer Protection Branch, not with the
Internal Revenue Service. The Internal Revenue Service is not a party to this Agreement and
remains free to pursue any and all lawful remedies it may have.

Entire Agreement

18. This letter constitutes the complete plea agreement in this case. This letter
supersedes any prior understandings, promises, or conditions between the United States and the
Defendant. There are no other agreements, promises, undertakings, or understandings between
the Defendant and the United States other than those set forth in this letter. No changes to this
Agreement will be effective unless in writing, signed by all parties, and approved by the Court.

If Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

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By

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Very truly yours,

Robert K. Hur
United States Attomey

[Gx Na tS

Roann Nichols
Assistant United States Attorney

Ann Entwistle
Trial Attorney

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Clint Narver
Trial Attorney

U.S. Department of Justice
Consumer Protection Branch
 

 

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By virtue of Unanimous Consent adopted by the Board of Directors of ACell, Inc.
(appended to this Agreement as Attachment D), I have been authorized, empowered, and directed
to represent ACell, Inc. before the Court in order to make statements and confirmations in
accordance with this Agreement, including entering a guilty plea on behalf of the Defendant. |
have read this Agreement, and carefully reviewed every part of it with ACell’s attorney. I
understand it and I voluntarily agree to it. Specifically, I have reviewed the Factual and Advisory
Guidelines Stipulation with the Defendant’s attorney and I do not wish to change any part of it.
ACell, Inc. is completely satisfied with the representation of its attorney.

   

sla/14
Date
xecutive Officer

Iam the Defendant’s attorney. I have carefully reviewed every part of this Agreement with
the Defendant and its designated representative. The Defendant advises me that the Defendant
understands and accepts its terms. To my knowledge, the Defendant’s decision to enter into this
Agreement is an informed and voluntary one.

 

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Date Melissa Bayer Tearhey, Esq.
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ATTACHMENT A

STATEMENT OF FACTS — ACELL, INC. S

The undersigned parties hereby stipulate and agree that if this matter had gone to
trial, the United States would have proven the following facts beyond a reasonable doubt.
The undersigned parties also stipulate and agree that the following facts do not
encompass all of the evidence which would have been presented had this matter gone to
trial:

A. Defendant ACELL, Inc.

At times material to this case, defendant ACELL, INC. (“ACELL”) was a
business corporation organized under the laws of the State of Delaware with its principal
place of business in Columbia, Maryland.

Defendant ACELL engaged in the development, manufacture, processing,
packaging, sale, marketing, and interstate distribution of certain medical devices intended
for human use throughout the United States, including the District of Maryland.

B. The FDA and FDCA

The United States Food and Drug Administration (“FDA”) was the federal agency
responsible for protecting the health and safety of the public by enforcing the Federal
Food, Drug, and Cosmetic Act (“FDCA”) by assuring, among other things, that medical
devices intended for use in the treatment of human beings were safe and effective for
their intended uses. Pursuant to its statutory mandate, the FDA regulated the
manufacture, processing, packing, labeling, and shipment in interstate commerce of
medical devices.

Under the FDCA, the term “device” included “an instrument, apparatus, .. .
implant . . . or other similar or related article ... which is . . . intended for use in. . . the.
. . treatment or prevention of disease, in man. . . which does not achieve its primary
intended purposes through chemical action within or on the body of man... and which is
not dependent upon being metabolized for the achievement of its primary intended
purposes.” 21 U.S.C. § 321 (h).

Under the FDCA, the term “labeling” was defined as all labels and other printed
or graphic matter upon any article, including medical devices, or any of its containers or
wrappers, or accompanying such articles. 21 U.S.C. § 321(m).

The FDCA and its implementing regulations prohibited manufacturers from
distributing in interstate commerce any medical device unless the FDA had granted
marketing authorization for the device or the device was covered by an exemption not

 

 
 

 

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applicable here. There generally were two ways for a manufacturer to obtain FDA
marketing authorization for a medical device.

The first way for a manufacturer to obtain authorization to distribute a medical
device lawfully was by receiving FDA approval of the manufacturer’s application for
pre-market approval of the device (“PMA approval”). The FDA would not grant PMA
approval unless the information in the PMA application provided the FDA with
reasonable assurance that the device was safe and effective for its intended use, as
reflected in its FDA-approved labeling.

The second way for a manufacturer to obtain authorization to lawfully distribute a
medical device was by receiving FDA clearance that the medical device was substantially
equivalent to a device that already was legally being marketed, i.e., a “predicate device.”
This process was referred to as “510(k) clearance.” The FDA would grant 510(k)
clearance if it determined, among other things, that the device had the same intended use
as the predicate device and did not raise new issues of safety or effectiveness.

The PMA approval process often required that manufacturers submit the results of
clinical testing on human subjects to the FDA. The 510(k) clearance process did not
usually require the submission of such data.

Regardless of the route chosen by a device manufacturer in seeking the FDA’s
approval to market a medical device, a device manufacturer’s application to the FDA was
required to contain proposed labeling sufficient to describe the device, its proposed
indication for use, and the directions for its proposed indication for use. Any FDA
clearance or approval of a device was based on and limited to a specific and defined
indication for use. Later, if a device manufacturer wanted to market a device for an
expanded or different indication than that approved or cleared by the FDA, the device
manufacturer would be required to seek further marketing authorization from the FDA
via an additional approval or clearance application.

After receiving approval or clearance to market a medical device, a device
manufacturer was required to establish and maintain records, make reports, and provide
information to the FDA in order to assure the continued safety and effectiveness of its
device. In addition, a device manufacturer was required promptly to report to the FDA
certain removals of a medical device from the market.

Specifically, the FDCA and its implementing regulations required medical device
manufacturers to submit a written report to the FDA within ten days of initiating any
“removal” of a device undertaken to reduce a risk to health posed by the device. 21
U.S.C. § 360i(g); 21 C.F.R. § 806.10. The failure or refusal to make such a report was a
prohibited act under the FDCA. 21 U.S.C. § 331(q)(1).

“Removal means the physical removal of a device from its point of use to some
other location for repair, modification, adjustment, relabeling, destruction, or inspection.”
21 C.F.R. § 806.2(j) (italics in original).
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“Risk to health means (1) a reasonable probability that use of, or exposure to the
product will cause serious adverse health consequences or death; or (2) that use of, or
exposure to, the product may cause temporary or medically reversible adverse health
consequences, or an outcome where the probability of serious health consequences is
remote.” 21 C.F.R. § 806.2(k) {italics in original).

The FDCA and its implementing regulations additionally required medical device
manufacturers to submit a written report to the FDA within 30 days whenever the
manufacturer became aware of information that reasonably suggested that one of its
marketed devices may have caused or contributed to a death or serious injury. 21 U.S.C.
§ 360i(a)(1)(A); 21 C.F.R. 803.10(c)¢1).

“[S]erious injury’ [means] an injury that (A) is life threatening, (B) results in
permanent impairment of a body function or permanent damage to a body structure, or
(C) necessitates medical or surgical intervention to preclude permanent impairment of a
body function or permanent damage to a body structure.” 21 U.S.C. § 360i(a)(2).

C. ACELL’s Devices

ACELL manufactured multiple medical devices that were derived from porcine
urinary bladder material, including devices that were approved for internal surgical
implantation and devices that were approved only as topical wound dressings.

In 2004, ACELL received clearance for ACell UBM Surgical Mesh ML and
MLPlus Sheets for internal use, specifically “implantation to reinforce tissue where
weakness exists in urological, gynecological, and gastrointestinal anatomy, including, but
not limited to the following procedures: pubourethral support, tissue repair, body wall
repair, and esophageal repair.” ACell UBM Surgical Mesh ML and MLPlus were
marketed under the brand name MatriStem Plastic Surgery Matrix XS (PSMX). PSMX
Sheets were sterilized, dried sheets of porcine bladder material. The PSMX Sheets were
produced by layering multiple sheets of porcine bladder material atop each other to
produce a single, thicker, sheet.

ACELL’s Powder Wound Dressing was produced by grinding the bladder sheets
into a particulate, and was cleared for “the management of topical wounds.” The ground
powder was packaged into vials and sold under the name MicroMatrix in quantities
ranging from 20 mg to 1,000 mg.

D. The FDA Clearance Process for ACELL’s MicroMatrix

On or about March 31, 2006, ACELL submitted a 51 0(k) premarket notification
to the FDA requesting approval to market ACell Powder Wound Dressing (which was
sold under the name MicroMatrix).

 
 

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After evaluating ACELL’s initial $10(k) submission for MicroMatrix, the FDA
expressed concern about ACELL’s proposed indication for the device. In a May 19,
2006 letter to ACELL, the FDA informed the company that, “[t]he predicate device,
K030921, states in the device name ‘topical wound dressing.’ The subject device does
not have any statement regarding topical use. Please include as part of the device name
or in the indication for use a [phrase] that states ‘for skin surface wounds.’ You need to
be clear that this device is not intended for internal use; otherwise, this indication would
require a premarket application.”

In response to the FDA’s request, ACELL modified MicroMatrix’s proposed
indication for use statement to include the word “topical,” clarifying that the product was
intended for topical use only and not intended for internal use.

Upon receipt of ACELL’s clarification and representation that the device was
intended only for topical use, on or about June 23, 2006, the FDA cleared MicroMatrix
via 510(k) number K060888. The FDA clearance letter accompanying 510(k) number
K060888 explicitly stated that MicroMatrix was indicated only for “the management of
topical wounds including: partial and full-thickness wounds, pressure ulcers, venous
ulcers, diabetic ulcers, chronic vascular ulcers, tunneled/undermined wounds, surgical
wounds (donor sites/grafts, post-Moh’s surgery, post-laser surgery, podiatric, wound
dehiscence), trauma wounds (abrasions, lacerations, second-degree burns, and skin tears),
and draining wounds.”

E. Endotoxin Contamination in ACELL’s Products

Endotoxins are complex pyrogenic toxins located in the cell walls of gram-
negative bacteria. Endotoxins are released from bacterial cell walls as a byproduct of
sterilization processes.

The effects of endotoxin exposure on the human body may include fever,
infection, septic shock, and death.

In recognition of these effects, FDA guidance and industry standards set limits
capping the acceptable level of endotoxins in a given medical device. These endotoxin
limits were based upon the device’s intended use. For most medical devices, including
devices intended for surgical implantation into the body, FDA guidance and industry
standards allowed no more than 20 endotoxin units (“EU”) per device. In contrast, FDA
guidance and industry standards did not limit the amount of endotoxins that were
allowable on medical devices that were intended to be used only as topical wound
dressings. The potential harm posed by endotoxin exposure on the external skin surface
was comparatively low when compared with the potential harm of internal exposure.

In or about March 2011, ACELL performed testing on certain lots of
MicroMatrix and discovered endotoxin levels in excess of 20 EU per device. Testing
revealed endotoxin levels up to 90 EU per device in the sampled lots. Subsequent testing
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in May 2011 revealed endotoxin levels up to 272 EU per device in additional sampled
lots.

In or about June 2011, ACELL discovered levels of endotoxin on PSMX Sheets
in excess of 20 EU per device. ACELL calculated that PSMX Sheets could have
endotoxin levels up to 128 EU per device, more than six times the limit set by FDA
guidance and industry standards for internal use devices. ACELL removed the PSMX
Sheets from the market after concluding that the elevated ievels of endotoxin on PSMX
Sheets posed a risk to patient health, ACELL also assigned a team of scientists from the
Research and Development department (““ACELL scientists”) to investigate the source of
elevated levels of endotoxin contamination and implement solutions.

On July 6, 2011, ACELL notified the FDA that it was recalling the PSMX Sheets
due to the health risk posed by elevated levels of endotoxin on the devices. Specifically,
in its Recall Notification to the FDA, ACELL stated that “[e]ndotoxins . . . are
substances .. . that, at elevated levels, can cause serious illness which can be fatal” and
“({ejlevated endotoxin levels may cause fever, serious adverse health consequences or

death.”

In response to ACELL’s Recall Notification, the FDA conducted a Health Hazard
Evaluation on the recalled PSMX Sheets and found that, “[t]he immediate and long term
health consequences of these defects/malfunctions include fever, patient infection,
implant failure requiring surgical intervention, other patient reactions including
inflammation, and death.”

As part of its efforts to recall the PSMX Sheets, ACELL removed approximately
292 devices from its internal warehouse inventory and advised all 24 doctors, who had
previously received and implanted the affected devices, that the PSMX Sheets were
potentially contaminated by elevated levels of endotoxin. ACELL also published a
statement on its website notifying the public about the issue.

ACell took no action to recall or remove the MicroMatrix discovered in March
2011 to have elevated levels of endotoxin.

F. ACELL’s Development of a Market for Non-FDA Cleared Uses of
MicroMatrix

Despite the FDA’s warning that ACELL would need to submit a PMA if it
intended to market its MicroMatrix for internal uses, ACELL directed and incentivized
its sales force to sell MicroMatrix for a variety of internal uses that the FDA had not
cleared.

ACELL senior management directed its sales force to sell MicroMatrix for
internal uses, and knew that physicians used MicroMatrix on patients internally,
including injecting MicroMatrix into the bodies of patients in applications such as hair
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restoration and orthopedic procedures, and implanting MicroMatrix into patients in
conjunction with PSMX Sheets.

ACELL used various means to educate its sales force about strategies to market
and sell MicroMatrix for internal uses, including through the specific means of a weekly
teleconference program called “Bladder Matters.” During Bladder Matters calls, featured
sales representatives provided advice to ACELL’s sales force on how best to maximize
product sales, and gave case history presentations demonstrating particularly notable uses
of ACELL product. As an accompaniment to the case history presentations, ACELL
distributed PowerPoint presentations depicting how ACELL product was utilized in each
procedure. These case history presentations at times featured internal usage of
MicroMatrix.

ACELL management selected the sales representatives to give case history
presentations, and reviewed and vetted the accompanying PowerPoint presentations
distributed to the sales force. The Bladder Matters calls described internal MicroMatrix
use.

Bladder Matters calls and PowerPoint presentations featured discussions and
depictions of the use of MicroMatrix in combination with PSMX Sheets that the FDA
had not cleared. PSMX Sheets were indicated for surgical procedures, and doctors used
PSMX Sheets in internal surgical procedures. MicroMatrix was indicated for topical use
only. Nevertheless, these Bladder Matters calls and PowerPoint presentations described
surgical procedures in which MicroMatrix was implanted deeper into the human body
than the PSMX Sheets, and the PSMX Sheets were then overlaid atop the MicroMatrix.
ACELL encouraged its sales force to promote MicroMatrix for this combination use with
PSMxX Sheets.

ACELL also encouraged the use of MicroMatrix in internal procedures by
targeting and hiring certain sales representatives who possessed preexisting relationships
with physicians specializing in areas of medicine for which ACELL had no FDA-cleared
product, including but not limited to dermatological injections.

None of these internal uses were included in the scope of the MicroMatrix 510{k)
clearance. In fact, during the clearance process, the FDA had explicitly warned ACELL
that if it intended to distribute MicroMatrix for such internal uses, ACELL was required
to submit a PMA application to the FDA.

G. ACELL’s Removal of Contaminated MicroMatrix from the Market

In or about January 2012, ACELL submitted multiple MicroMatrix devices to a
third-party testing company to determine how much endotoxin was present on the
powder. The results from the testing affirmed that the elevated levels of endotoxin on
MicroMatrix affected a wider range of production lots than those implicated in the 2011
endotoxin testing on the PSMX Sheets. The 2012 test results revealed endotoxin levels
above the 20 EU limit in MicroMatrix packaged in 100 mg, 200 mg, 500 mg, and 1,000

 

 
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mg volumes that spanned a wide range of production lots, and affected over 30,000
devices. The new test results also demonstrated endotoxin levels up to 626 EU per
device, over thirty times in excess of the FDA guidance and industry standard limits of 20
EU per device for product used internally.

In or about January 2012, ACELL scientists concluded that the MicroMatrix with
elevated levels of endotoxin posed a health risk. In a series of meetings, ACELL
scientific and quality employees presented their findings to ACELL senior management
and suggested that MicroMatrix be recalled from the market.

ACELL senior management reviewed the findings and recommendations of the
investigatory team and concluded that the elevated levels of endotoxin present in
MicroMaitrix posed a risk to patient health, ACELL’s senior management knew that
even devices as small as 100 mg and 200 mg from the affected lots of MicroMatrix were
contaminated by endotoxin levels above the 20 EU limit and posed a risk to patient
health. ACELL senior management removed 500 mg and 1,000 mg MicroMatrix
devices sourced from the lots contaminated by elevated levels of endotoxin from the
market because ACELL senior management knew that the 500 mg and 1,000 mg
MicroMatnix devices were used internally.

On January 27, 2012, ACELL initiated the removal of lots with elevated
endotoxin levels by instructing its sales representatives to return all 500 mg and 1,000 mg
volumes of MicroMatnx to ACELL’s corporate headquarters. ACELL instructed its
sales force to return product that was held in the sales representatives’ personal
inventories and product that was held on consignment at the point of use at hospitals and
other healthcare facilities.

ACELL did not instruct its sales representatives to return any volumes of
MicroMatrix smaller than 500 mg originating from the contaminated lots. Instead,
ACELL left the smaller volumes of MicroMatrix on the market and made no effort to
inform doctors that the smaller volumes of MicroMatrix were contaminated by
endotoxin.

Over the following several weeks, ACELL sales representatives returned their
inventories of 500 mg and 1,000 mg vials of MicroMatrix to ACELL’s corporate
headquarters. Among other things, these sales representatives removed MicroMatrix
sourced from the contaminated lots from its point of use at hospitals and doctors’ offices,
and shipped it back to ACELL corporate headquarters in Maryland.

When the MicroMatrix sourced from the contaminated lots was returned and
received at ACELL’s corporate headquarters in Maryland, ACELL employees placed it
in a designated “quarantine area.” Subsequently, at the direction of ACELL senior
management, including ACELL’s President, ACELL employees removed certain vials
of MicroMatrix sourced from the quarantine area and redistributed them to veterinarians.
ACELL neither informed these veterinarians that the MicroMatrix was from lots with
 

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elevated endotoxin levels nor that the MicroMatrix had been removed from the human
medicine market.

Some portion of the MicroMatrix that had been placed into the quarantine area
and not redistributed to veterinarians was destroyed.

H. ACELL Senior Management Did Not Disclose the Elevated Levels of
Endotoxin in MicroMatrix

ACELL senior management did not inform ACELL’s sales force that certain lots
of MicroMatrix contained elevated endotoxin levels. Rather, ACELL sent sales
representatives personalized e-mails that stated, “ACell Corporate is establishing
minimum and maximum inventory levels for all ACell field reps, during this time we will
be asking you to recycle your current inventory starting with MicroMatrix devices.”

Each e-mail then listed the quantities of 500 mg and 1,000 mg vials of MicroMatrix that
the sales representative had in his or her product inventory, and instructed the
representative to return the entire quantity to ACELL’s corporate headquarters.

ACELL sales representatives did not know that the MicroMatrix they were
instructed to return to company headquarters had elevated endotoxin levels. As a result,
some sales representatives delayed returning their inventory. Some sales representatives
continued to distribute MicroMatrix from the contaminated lots to doctors after being told
to return their inventory. ACELL senior management did not inform these sales
representatives that the MicroMatrix they had sold and were continuing to sell was from
lots with elevated levels of endotoxin.

ACELL also concealed the product contamination and removal from doctors and
hospitals. Specifically, ACELL did not disclose to doctors and hospitals the fact that the
removal of MicroMatrix consignment stock was due to higher levels of endotoxin than
was permitted. Among other things, ACELL’s management, at the direction of
ACELL’s President, instructed at least one sales representative to “tell the hospital he is
just updating product, that we cycle inventory to prevent any product from sitting on the
shelves too long.” ACELL senior management did not disclose to doctors who
continued to buy and use or had used 500 mg and 1,000 mg vials of MicroMatrix the fact
that ACELL sold and continued to sell product that was subject to a removal action.

ACELL sales representatives continued to distribute 100 mg and 200 mg vials of
MicroMatrix that were derived from the contaminated range of production lots. ACELL
did not disclose to doctors receiving these devices that the lots had elevated levels of
endotoxin, and that ACELL had conducted a removal of devices of larger vial sizes due
to the risk to patient health posed by endotoxins when used internally. ACELL sales
representatives continued to distribute the 100 mg and 200 mg vials of MicroMatrix
despite warnings from ACELL scientific and quality employees that these smaller
volumes posed the same risk to patient health. Upon being told of the risk to patient
health posed by the 100 mg and 200 mg vials of MicroMatrix, ACELL’s CEO stated that
the devices had “too much street value” to be removed from the market.
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ACELL did not disclose important safety information to medical professionals
whe reported adverse events. ACELL received product-related complaints from several
medical professionals, including multiple doctors, a veterinarian, and a nurse, all of
whom had used MicroMatrix sourced from contaminated lots on patients. These medical
professionals reported to ACELL adverse events in which patients displayed symptoms
consistent with endotoxin exposure, such as fever and inflammation. Various ACELL
employees, including in some instances ACELL’s President, personally discussed the
adverse events with these medical professionals, yet ACELL did not inform the medical
professionals that the MicroMatrix they had used was sourced from lots with elevated
levels of endotoxin and the adverse events could potentially be caused by the elevated
endotoxin levels present in the MicroMatrix. ACELL did not memonalize in company
complaint files the fact that the MicroMatrix at issue in these adverse events was sourced
from contaminated lots.

Collectively, ACELL did not disclose to doctors, veterinarians, nurses, and
hospitals important safety information concerning the MicroMatrix that was being used
on patients during surgical procedures. By not disclosing this information, ACELL
prevented these medical professionals and hospitals from making informed decisions
regarding their use of ACELL’s products.

ACELL did not submit a notification to the FDA informing the agency that it had
removed 500 mg and 1,000 mg volumes of MicroMatrix. In connection with the prior
July 8, 2011 recall of PSMX Sheets, ACELL did submit a removal notification to the
FDA. By performing a silent recall of MicroMatrix and not informing the FDA, ACELL
prevented the FDA from fulfilling its public health responsibility — namely, evaluating
whether the actions taken by the company and its management were adequate to protect
patient health and safety — and interfered with the FDA’s ability to take further actions
against ACELL’s products.

I. The Insufficiency of ACELL’s Complaint Handling Process and the
Company’s Failure to Submit MDRs to the FDA

As a medical device manufacturer, ACELL was required to maintain procedures
to receive, review, evaluate, and document complaints concerning ACELL’s products.
ACELL was further required to make a timely report to the FDA whenever ACELL
became aware that one of its devices may have caused or contributed to a death or serious

injury.

Prior to and during the time period of ACELL’s removal of medical devices with
elevated levels of endotoxin, ACELL’s complaint handling procedures were deficient.
ACELL had no consistent procedures for collecting information regarding complaints
and performing thorough and effective complaint investigations. ACELL also had no
consistent procedures in place for evaluating whether complaints related to events that
required reporting to FDA as Medical Device Reports (“MDRs”). Certain adverse events
about which ACELL was made aware were not documented as complaints, particularly

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if those events related to use of ACELL’s devices in procedures that had not been
cleared by the FDA, such as breast reconstruction.

ACELL employees closed complaints without conducting root cause
investigations, and without addressing whether known product deficiencies ~ such as
elevated levels of endotoxin — might have caused or contributed to patient adverse
reactions.

In one instance, on October 4, 2011, a doctor complained about fever and the
development of abscesses and drainage following the implantation of ACELL devices,
including Powder Wound Dressing sourced from lots with elevated levels of endotoxin,
into a patient. The complaint form documenting ACELL’s investigation indicated that
ACELL’s President contacted the doctor who reported the adverse event, but did not
inform the doctor of the elevated levels of endotoxin or discuss with the doctor whether
the patient reaction was consistent with exposure to elevated levels of endotoxin.

ACELL ultimately concluded that, “[f]rom the additional information gathered it is clear
that the patient issues were caused by an infection and not product related. No further
action is necessary; this does not constitute a reportable event.”

In another example, on November 22, 2011, a nurse complained about swelling
following the injection of MicroMatrix from one of the lots with elevated endotoxin
levels into a patient’s forehead. The complaint form documenting ACELL’s
investigation into the complaint indicated that ACELL’s President contacted the nurse
who reported the adverse event, but did not disclose that the device used for the injection
was sourced from a lot known to be contaminated with high levels of endotoxin and did
not discuss the possibility that endotoxin exposure might have caused the patient
reaction. ACELL ultimately concluded that, “[r]eview of complaint indicates that this
does not represent a death or serious injury that should be reported. The product was
used in a manner that it is not indicated for and this appears to be primarily an
inflammatory response. Close complaint.”

In February 2012, a veterinarian contacted ACELL regarding a dog and a horse
which had both experienced “massive swelling” after receiving injections of MicroMatrix |
from a 500 mg vial. The device used to treat the dog and the horse was sourced from a
lot with elevated levels of endotoxin that was subject to removal from the human market
at that time. ACELL’s CEO was notified of the existence of this complaint, that the
device at issue was in the range of lots with elevated levels of endotoxin, and that ©
elevated endotoxin levels presented the same risks when implanted into animals as when
implanted into humans. An ACELL employee spoke with the veterinarian, but did not
inform her that the device used was sourced from a lot with elevated levels of endotoxin.
ACELL ultimately closed the complaint, and provided the veterinarian with six free 100
mg vials of MicroMatrix. The complaint form does not decument the possibility that
elevated levels of endotoxin caused the event.

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In March 2012, ACELL contracted with Qserve Group US, Inc. to verify
ACELL’s compliance with FDA regulations. On May 17, 2012, Qserve’s audit report
found 11 high regulatory risk deficiencies in ACELL’s processes, including:

inadequate investigations for complaints, medical device reporting, and failure
investigations and root cause analyses for Corrective and Preventive Actions;

inadequate supplier evaluation, risk management procedures, design history files,
and production and process controls; and

failure to validate the shelf life for Lyophilized Powder, sold as MicroMatrix; the
master plan; and manufacturing processes.

Qserve made specific audit findings, including ACELL’s failure to establish an
endotoxin level for Lyophilized Wound Dressing (Powder), sold as MicroMatrix;
inability to track the batch and lot numbers of Surgical Mesh sheets used to manufacture
Lyophilized Powder, sold as MicroMatrix; failure to investigate product and process
nonconformities as root causes of patient complaints and to prevent recurrences; a
regulatory opinion clearing PSMX Sheets for use in breast reconstruction without FDA
clearance; and products sold as custom devices that did not qualify as custom devices and
were not cleared by FDA. Qserve informed ACELL of the significant risk for FDA
enforcement action, and recommended corrective actions.

During an inspection conducted by the FDA at ACELL’s Maryland headquarters
in November and December 2012, FDA inspectors reviewed ACELL’s complaint history
files and discovered that, in at least two instances, ACELL failed to furnish MDRs
within 30 days after ACELL became aware of information reasonably suggesting that a
device may have caused or contributed to a death or serious injury. The inspectors’
findings related to cases involving ACELL’s endotoxin-contaminated PSMX Sheets that
may have contributed to patient infections that necessitated surgical intervention.
Following the inspection, on April 26, 2013, the FDA issued a Warning Letter to
ACELL. The Warning Letter described several violations of the FDCA committed by
ACELL, including ACELL’s failure to furnish the FDA with timely MDRs. The
warning letter was closed on June 1, 2016.

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Roann Nichols
Assistant United States Attorney

Patrik McBrayer
President and Chi¢f Executive Officer
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Defendant ACgH, Inc.

 

Melissa Bayer Tearney, Esq.
Counsel for Defendant

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ATTACHMENT C
COMPLIANCE PROGRAM AND CERTIFICATIONS

ACell, Inc. “ACell” or “the company”) agrees to the provisions set forth in this
Attachment, which is incorporated by reference as part of the Plea Agreement (the “Agreement”)
between the Office of the United States Attorney for the District of Maryland and the United
States Department of Justice, Consumer Protection Branch (collectively, the “United States” or

the “Government”) and ACeli.

I, Compliance and Ethics Program

1. ACeli will maintain a Compliance and Ethics Program that governs ACell’s
business operations. The purpose of the Compliance and Ethics Program is to (a) prevent, detect,
and correct violations of Jaw and company policy and procedures; (b) assure the continuation of
compliance-related policies and procedures for business operations; (c) assure the continued
development of training and other programs designed to educate employees regarding applicable
policies, procedures, and standards; (d) conduct auditing and monitoring of the effectiveness of
applicable policies, procedures, and standards; (e) assure that there is a mechanism for internal
reporting of questionable or inappropriate activities to enable timely investigation and resolution;
and (f) assure that appropriate corrective action is taken to prevent recurrence of misconduct.

2. The Compliance and Ethics Program will consist of a Chief Comphance Officer
who reports to the Board of Directors of ACell and sits on the staff of the Chief Executive
Officer of ACell, a Compliance Committee comprised of senior executives which meets at least
four times a year, a comprehensive set of policies and procedures governing the conduct of its
employees, a training program focused on the company’s compliance policies and procedures, a

hotline to allow employees to report potential violations of law or the company’s compliance
 

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policies and procedures, an anti-retaliation policy, and a monitoring and auditing program

designed to deter and detect compliance issues. The Chief Compliance Officer is responsible for

overseeing the administration and implementation of the Compliance and Ethics Program. The
Chief Compliance Officer reports at least quarterly on the Compliance and Ethics Program to the

Board of Directors. The Chief Compliance Officer has direct access to senior executives vested

with the authority to direct and implement compliance-related changes in ACell if necessary.

The Chief Compliance Officer has the authority to exercise independent judgment in assessing

compliance-related matters. The Chief Compliance Officer has the authority to seek advice from

 

outside legal counsel or other outside experts when appropriate. The Chief Compliance Officer
is authorized to report issues of any kind directly to the Board of Directors of ACell (or a
Committee thereof).

3. ACell will include and maintain compliance policies and procedures designed to
prevent, detect, and correct violations of the Federal Food, Drug, and Cosmetic Act (“FDCA”)
regarding: (1) the documentation and reporting of medical device corrections, removals, and
recalls; (2) the investigation, documentation, and reporting of medical device complaints; and (3)
the marketing of medical devices.

II. Notice to Healthcare Providers and Entities

4. Within thirty (30) days after the entry of the guilty plea in this matter and for a
period of one (1) year thereafter, ACell shall post in a prominent place on the main page of the
healthcare professional section of its website a notice, dated and signed by the Chief Executive

Officer of ACell, containing the language set forth below:

As you may be aware, ACeil recently entered into a civil, criminal,
and administrative settlement with the United States and individual
states in connection with ACell’s promotion and sales of several of
its products. This letter provides you with additional information

 
 

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about the global settlement, explains ACell’s commitments going
forward, and provides you with access to information about those
commitments.

ACell has agreed to plead guilty to a misdemeanor under the

Federal Food, Drug and Cosmetic Act relating to its failure to |
properly implement a recall in 2012. In addition, ACell entered |
into a separate civil settlement relating to allegations that ACell
engaged in improper sales and marketing practices. To resolve |
those allegations, ACell has agreed to pay approximately $15

million to federal and state health care programs. More

information about this settlement may be found at the following:

[The notice shall include a link to the USAO, CPB, and ACell

websites in the letter.]

As part of the global settlement, ACell also entered into a five-year
corporate integrity agreement with the Office of Inspector General
of the U.S. Department of Health and Human Services. The
corporate integrity agreement is available at

http://oig .hhs.gov/fraud/cia/index.html. Under this agreement,
ACell agreed to undertake certain obligations designed to promote
compliance with Federal heaith care program and FDA
requirements. We also agreed to notify healthcare providers about
the settlement and inform them that they can report any
questionable practices by ACell’s representatives to ACell’s
Compliance organization or the FDA using the information set out
below.

Please call ACell’s Ethics and Integrity Helpline at 1-844-620-
0004 or visit us at www. lighthouse-services.com/acell if you have
questions about the settlement referenced above or to report any
instances in which you believe that an ACell representative
inappropriately promoted a product or engaged in other
questionable conduct. Alternatively, you may report any improper
conduct associated with prescription drug marketing committed by
an ACell Representative to the FDA’s Office of Prescription Drug
Promotion at 301-796-1200. You should direct medical questions
or concerns about ACell products to 1-844-620-0004 or visit us at
www.lighthouse- services.com/acell.

5. The Chief Compliance Officer (or a designee) shall maintain a log (the “Log”) of
all calls and messages received by the Compliance and Ethics Program that report questionable
practices by ACell employees, including issues or questions associated with ACell’s policies,

conduct, practices or procedures with respect to a Federal health care program or an FDA
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requirement believed by the individual to be a potential violation of criminal, civil, or
administrative law. The Log shall include any such calls or messages in response to the notice
above. The Log shall include a record and summary of each call and message received (whether
anonymous or not), the status of the call or message, and any corrective action taken in response
to the call or message. ACell shall produce the Log to the United States within ten (10) days of a
written request for such production, for a period of three (3) years after the entry of the ACell
guilty plea in this matter.

Ill. Certifications and Board Resolutions

6. ACell will conduct the reviews described in Paragraphs 7 through 9 below for
each of three (3) Review Periods. The duration of each Review Period will be one (1) year,
beginning with the first one-year period following the Effective Date of the Corporate Integrity
Agreement to be executed between the Office of Inspector General for the Department of Health
and Human Services and ACell. ACell will provide the certifications and resolutions described
in Paragraphs 7 through 9 below to the Government within sixty days following the end of each
of the Review Periods.

7. Following the end of each Review Period, the Chief Compliance Officer shall
conduct a review of the Log described in Paragraph 5 above for the preceding Review Period.
Based on his or her review, the Chief Compliance Officer shall submit to the Government a
signed certification (the “Log Certification”) (a) stating that, to the best of his or her knowledge,
during the preceding Review Period, ACell maintained the Log pursuant to this Agreement; and
(b) stating the total number of calls and messages received by the Compliance and Ethics
Program through its disclosure program, including any such calls or messages made in response

to the notice in Paragraph 4, and the number of those calls and messages for each month of the
 

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preceding Review Period that relate to (1) the documentation and reporting of medical device
corrections, removals, and recalls; (2) the investigation, documentation, and reporting of medical
device complaints; and (3) the marketing of medical devices.

8. Following the end of each Review Period, the Chief Executive Officer of ACeli
shali conduct a review of the effectiveness of the Compliance and Ethics Program for the
preceding Review Period. Based on his or her review, the President of ACell shall submit to the
Government a signed certification stating that, to the best of his or her knowledge based on a
reasonable inquiry, during the preceding Review Period, the Compliance and Ethics Program
was effective in identifying and preventing violations of the FDCA. The certification shall
summarize the review described above. Ifthe President of ACell is unable to certify that the
Compliance and Ethics Program was effective in preventing violations of the FDCA, he or she
shail provide a detailed explanation of why the Compliance and Ethics Program was not
~ effective, and will state the steps ACell is taking to ensure the effectiveness of the Compliance
and Ethics program.

9. Following the end of each Review Period, the Board of Directors of ACell, ora
designated Committee thereof (the “Board”), shall conduct a review of the effectiveness of the
Compliance and Ethics Program for the preceding Review Period. This review shall include, but
not be limited to, updates and reports by the Chief Compliance Officer and other personnel
regarding compliance matters. The Board shall evaluate the effectiveness of the Compliance and
Ethics Program, including, at a minimum, by receiving updates about the activities of the
Compliance Committee and updates about the adoption and implementation of policies,

procedures, and practices to ensure compliance with the FDCA. Based on its review, the Board

 
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shall submit to the Government a resolution that summarizes its review and oversight as set forth

above and that includes, at a minimum, the following language:

The Board of Directors of ACell, Inc. (or a designated Committee
of the board) has made a reasonable inquiry as described in
Attachment C of the Plea Agreement with ACell into the
operations of the Compliance and Ethics Program for the
preceding Review Period, [insert date range], including the
performance of the Chief Compliance Officer and the Compliance
Committee. Based on its inquiry and review, the Board has
concluded that, to the best of its knowledge, ACell has
implemented an effective compliance program, as defined in the
United States Sentencing Commission Guidelines Manual, Chapter
8: Sentencing of Organizations, to meet the requirements of the
Federal Food, Drug, and Cosmetic Act, and as set forth in
Attachment C to the Plea Agreement.

Ifthe Board is unable to provide any part of this statement, it shall include in the resolution a

written explanation of the reasons why it is unable to provide such a statement.

IV. Additional Reporting Obligations

10. —- Fifteen (15) days after the end of each calendar quarter (that is, by January 15 for
the calendar quarter ending December 31, April 15 for the calendar quarter ending March 31,
July 15 for the calendar quarter ending June 30, and October 15 for the calendar quarter ending
September 30), excepting any calendar quarter that ends within sixty (60) days of the end of the
third Review Period described in this Agreement, ACell shall submit a report to the Government
in writing stating whether any Reportable Events have been determined to have occurred during
the preceding calendar quarter, and providing updated information about Reportable Events that
ACell determined to have occurred during any prior calendar quarter, as may be necessary in the
reasonable determination of ACell or at the Government’s request. A Reportable Event means

anything that, after a reasonable opportunity to conduct an appropriate review or investigation of

 

 
 

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the allegations, a reasonable person would consider to constitute: (a) a probable violation of
FDCA requirements relating to the marketing or promotion of a medical device; (b) the initiation
ofa recall of a medical device; (c) the failure to report to the FDA a medical device correction or
removal, as required by 21 U.S.C. § 360i(g); or (d) the failure to submit a medical device report
(MDR) to the FDA, as required by 21 U.S.C. § 360i(a), A Reportabie Event may be the result of
an isolated event or a series of occurrences.
V. Filing of Certifications, Resolutions, and Reports

11. The certifications referenced above in Paragraphs 7 and 8 shal] be sworn to under
penalty of perjury and shall set forth that the representation contained therein may be provided
to, relied upon, and material to the government of the United States, and that a knowing false
statement could result in criminal or civil liability for the signatory. The certifications referenced
above in Paragraphs 7 and 8, the resolutions referenced above in Paragraph 9, and the reports

referenced above in Paragraph 10, should be sent to:

Chief, Criminal Division
U.S. Attorney’s Office
District of Maryland

36 8. Charles St., 4" Floor
Baltimore, MD 21201

Director, Consumer Protection Branch
U.S. Department of Justice
P.O. Box 386
Washington, DC 20044
VI.‘ Breach of this Attachment
12. ACell recognizes that each of the terms in this Attachment constitutes a material

term of this Attachment. As a contractual remedy, ACell and the United States agree that failure

to comply with the obligations set forth in this Attachment may lead to the imposition of the

 
 

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following monetary penalties (hereafter “Stipulated Penalties”), in accordance with the following

provisions:

a. A Stipulated Penalty of $3,000 per day for each day ACell (1) fails to

maintain a Compliance and Ethics Program as set forth in section I above; (2)
fails to timely supply the certifications and board resolutions as set forth in
Section I] above; or (3) fails to timely supply the reports as set forth in
Section IV above. With regard to the certifications, board resolutions, and
reports, the Stipulated Penalty will begin to accrue on the first day after the
date the document was due, subject to the provisions for extension of time for
compliance and the opportunity to cure set forth below.

. ACell may submit a timely written request for an extension of time to provide
the certifications, resolutions, or reports required above. A written request is
timely if it is received by the U.S. Attorney’s Office for the District of
Maryland and the Consumer Protection Branch, U.S. Department of Justice, at
least five business days prior to the date by which the certification, resolution,
or report is due. Timely requests for extension will not be unreasonably
denied. If an extension of time is granted in writing, Stipulated Penalties shall
not accrue until one day after ACell fails to meet the revised deadline. If not
granted, Stipulated Penalties shall not begin to accrue until three business days
after ACell receives the United States’ written denial of such request or the
original deadline, whichever is later.

Upon the United States’ reasonable determination that ACell has failed to

comply with any of the obligations described herein, the United States shall

 
 

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notify ACell in writing of ACell’s failure to comply and the United States’
exercise of its contractual right to demand payment of the Stipulated Penalties
(the “Demand letter”). The Demand Letter shall set forth: (1) the
provision(s) breached; (2) the date of the breach; (3) a description of the
breach sufficient to permit ACell to cure (as described below); and (4) the
amount of Stipulated Penalties claimed by the United States as of the date of
the Demand Letter. Within fourteen (14) days after receipt of the Demand
Letter, or such other period as the United States may agree in writing, ACell
shall cure the breach to the United States’ reasonable satisfaction (“Cure
Period”). If ACell cures the breach within the Cure Period, no Stipulated
Penalties shall be due. If ACell fails to cure the breach during the Cure
Period, Stipulated Penalties calculated from the date of breach to the date of
payment shall be immediately payable to the United States. The Stipulated
Penalties shall be paid by electronic fund transfer according to wire
instructions that will be provided by the United States. A joint reasonable
determination by the United States Attorney’s Office for the District of
Maryland and the United States Department of Justice’s Consumer Protection
Branch as to whether ACell has cured any breach will be final and non-
appealable. ACell agrees that the United States District Court for the District
of Maryland shall have jurisdiction over any action to collect a penalty. If
ACell fails to timely make a payment required by this Attachment, interest (at
the rate specified in Title 28, United States Code, Section 1961) shall accrue

on the unpaid balance through the date of payment.
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13. The absence of a Demand Letter from the United States is not, and shall not be
construed as, evidence of compliance with this Attachment, the FDCA, or any other applicable

laws, policies, or procedures.

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Unanimous Written Consent of the Board of Directors
April 16, 2019

The undersigned, being all of the directors of ACell, Inc., a Delaware corporation (the
“Company”), do hereby take, pursuant to Section 141(f) of the General Corporation Laws of the
State of Delaware, the following actions by written consent:

WHEREAS, the Company is entering into certain Settlement Agreements (the “State
Settlement Agreements”) with Maryland, Florida, and Wisconsin, and a certain Settlement
Agreement (the “Federal Setthement Agreement”) with the United States of America, acting
through its Department of Justice, the United States Attorney's Office for the District of
Maryland, the Office of Inspector General of the United States Department of Health and Human
Services, the Defense Health Agency acting on behalf of the TRICARE program, the United
States Department of Veteran Affairs, and the Relators identified therein, and a waiver of
indictment (the “Waiver of Indictment”) and a plea agreement with the United States Attorney’s
Office for the District of Maryland and the United States Department of Justice Consumer
Protection Branch (the “Plea Agreement”), all of which are intended to resolve certain civil and
criminal claims in consideration of payment by the Company of a total of fifteen million dollars
($15,000,000), plus interest, plus the Relator’s attorneys’ fees in the amount of two hundred and
twenty-three thousand dollars ($223,000) (as so described, the “Settlement’’).

WHEREAS, in connection with the Settlement, the Company is entering into a Corporate
Integrity Agreement (the “Corporate Integrity Agreement”) with the Office of Inspector General
of the United States Department of Health and Human Services to promote compliance with the
statutes, regulations, and written directives of Medicare, Medicaid, and other Federal health care
programs and the statutes, regulations and written directives of the Food and Dmg
Administration.

SETTLEMENT DOCUMENTS

NOW, THEREFORE, BE IT RESOLVED, that the Company be, and hereby is,
authorized to enter into, execute and deliver the State Settlement Agreements, the Federal
Settlement Agreement, the Corporate Integrity Agreement, the Waiver of Indictment and the
Plea Agreement; and to comply with all other terms and conditions contained therein, on such
terms and conditions set forth in the forms presented to the Company’s Board of Directors (the
“Board”) herewith, with such additions and modifications as the Board deems, in its sole
discretion, necessary or appropriate and in the best interests of the Company.

FURTHER RESOLVED, that the Board hereby acknowledges that the State Settlement
Agreements, the Federal Settlement Agreement, the Corporate Integrity Agreement, the Waiver
of Indictment and the Plea Agreement fully set forth the agreements made between the Company
and the United States, and further acknowledges that no additional promises or representations
have been made to the Company by any officials of the United States in connection with the
disposition of the Settlement.
 

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FURTHER RESOLVED, that the Board hereby acknowledges that it has reviewed the
Information and the Plea Agreement and has consulted with legal counsel in connection with the
matter.

GENERAL AUTHORIZATIONS

FURTHER RESOLVED, that any and all acts, transactions, agreements or certificates
previously signed by or on behalf of the Company in furtherance of the foregoing be, and hereby
are, in all respects approved and ratified as the true acts and deeds of the Company with the same
force and effect as if such act, transaction, agreement or certificate had been specifically
authorized in advance by resolution by the Board,

FURTHER RESOLVED, that Patrick A. McBrayer, President and Chief Executive
Officer of the Company be, and is, authorized and directed in the name and on behalf of
the Company, to execute and deliver the State Settlement Agreements, the Federal
Settlement Agreement, the Corporate Integrity Agreement, the Waiver of Indictment and
the Plea Agreement and any and all other agreements, instruments, documents and
certificates, and to take any and all actions which such members may deem necessary,
appropriate or desirable in connection with or in furtherance of the actions contemplated by all
of the foregoing resolutions, and that the execution and delivery of such agreements,
instruments, documents and certificates and the taking of such actions, by such members
shall be conclusive evidence of such determination and approval of the Board,

FURTHER RESOLVED, that an officer of the Company be, and hereby is, authorized to
sign a letter directing ACell, Inc., to make payment in accordance with the terms of the State
Settlement Agreements, the Federal Settlement Agreement, and the Plea Agreement.

FURTHER RESOLVED, that this Consent may be executed in one or more counterparts,
all of which together shall constitute one and the same Consent.

Such resolutions have not been amended, modified, rescinded or revoked and remain in
full force and effect on the date hereof.

[Signature Page Follows]

 
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The undersigned further direct that this consent shall take effect immediately as of the date
first above written and shall be filed in the minute book of the Corporation with the minutes of the
meetings of the Beard of Directors.

Kylé Kerbawy

Goel
A

 

Louis Baldino

 

David Andersen

 

Patrick McBrayer

 

Sally Maher

 
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The undersigned further direct that this consent shall take effect immediately as of the date
first above written and shall be filed in the minute book of the Corporation with the minutes of the
meetings of the Board of Directors.

 

Kyle Kerbawy

Skye Baldline

 

Louis Baldino

 

David Anderson

 

Patrick McBrayer

 

Sally Maher
 

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The undersigned further direct that this consent shall take effect immediately as of the date
first above written and shail be filed in the minute book of the Corporation with the minutes of the
meetings of the Board of Directors.

 

Kyle Kerbawy

 

Louis Baidino

David Anderson

 

Patrick McBrayer

 

Sally Maher

 
 

 

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The undersigned further direct that this consent shall take effect immediately as of the date
first above written and shall be filed in the minute book of the Corporation with the minutes of the
meetings of the Board of Directors.

 

Kyle Kerbawy

 

Louis Baldino

 

David Anderson

 

Patrick WicBrayer /, ]
L*%

Sally Maher
 

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The undersigned further direct that this consent shall take effect immediately as of the date
first above written and shall be filed in the minute book of the Corporation with the minutes of the
meetings of the Board of Directors.

 

Kyle Kerbawy

 

Louis Baldino

 

David Anderson

 

Patrick McBrayer
Digitally signed by Sally Maher

Sal ly Maher. 2019.04.16 13:10:56

Sally Maher

 

 

 
 

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SETTLEMENT AGREEMENT
This Settlement Agreement (Agreement) is entered into among the United States of

America, acting through the United States Department of Justice and on behalf of the Office of

Inspector General (OIG-HHS) of the Department of Health and Human Services (HHS), the
Defense Health Agency (DHA), acting on behalf of the TRICARE Program, and the United
States Department of Veteran Affairs (VA) (collectively, the “United States”), ACell, Inc.
(ACell), John Murtaugh, and Ali Mahdavi (collectively the “Relators”) (hereafter collectively
referred to as “the Parties”), through their authorized representatives.

RECITALS

A. ACell is a manufacturer of medical devices organized under the laws of the state

of Delaware with its principal place of business in Maryland. ACell develops, manufactures,

processes, packages, sells, markets, and distributes medical devices derived from porcine urinary

bladder material, including devices approved for internal surgical implantation and devices
approved only as topical wound dressings.

B. On June 21, 2013, John Murtaugh filed a gui fam action in the United States

District Court for the District of Maryland captioned United States ex rel. John Murtaugh v.

ACell, Inc., Action No. ELH-13-1820, pursuant to the gui fam provisions of the False Claims

Act, 31 U.S.C. § 3730(b). On September 9, 2016, Ali Mahdavi filed a gui tam action in the
United States District Court for the Eastern District of Wisconsin captioned United States ex rel.

Ali Mahdavi, M.D. v. ACell, Inc., et al., Action No. SEALED pursuant to the qui fam provisions

of the False Claims Act, 31 U.S.C. § 3730(b). Collectively, these actions are referred to as the

“Crvil Actions.”

Settlement Agreement among United States,
John Murtaugh, Ah Mahdavi, and ACell, Inc.
 

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C. ACell has entered or will be entering into separate settlement agreements,
described in Paragraph 1.b., below (hereinafter referred to as the “Medicaid State Settlement
Agreements”), with Maryland, Florida and Wisconsin in settlement of the Covered Conduct.
States with which ACell executes a Medicaid State Settlement Agreement in the form to which
ACell and that State have agreed, or in a form otherwise agreed to by ACeli and an individual
State, shall be defined as the “Medicaid Participating States.”

D. The United States contends that ACell submitted or caused to be submitted claims
for payment to the Medicare Program, Title XVIII of the Social Security Act, 42 U.S.C. §§
1395-1395kkk-1 (“Medicare”); the Medicaid Program, 42 U.S.C. §§ 1396-1396w-5
(“Medicaid”); the TRICARE Program, 10 U.S.C. §§ 1071-1110b (*TRICARE”); and the
Department of Veterans Affairs, Veterans Health Administration, 38 U.S.C. Chapter 17.

E, The United States contends that it has certain civil claims against ACell arising

from certain ACell practices during the period from January 1, 2009 through October 20, 2014 as

follows:

(1) The FDA cleared ACell’s MicroMatrix powder in June 2006
pursuant to the FDA’s 510(k) program and assigned number K060888. The FDA
clearance letter accompanying 510(k) number K060888 stated that MicroMatrix
was indicated for “the management of topical wounds including: partial and full-
thickness wounds, pressure ulcers, venous ulcers, diabetic ulcers, chronic vascular
ulcers, tunneled/undermined wounds, surgical wounds (donor sites/grafts, post-
Moh’s surgery, post-laser surgery, podiatric, wound dehiscence), trauma wounds
(abrasions, lacerations, second-degree burns, and skin tears), and draining
wounds.”

The United States contends that beginning in 2011, ACel! marketed its
MicroMatrix powder products for non-topical or internal uses, such as fistula and
hernia repairs, breast reconstructive surgeries, open abdomen surgeries, and
internal injections of MicroMatrix in hair restoration and orthopedic procedures.
ACell’s management instructed its sales force that every surgical procedure
presented an opportunity to sell MicroMatrix and directed that sales
representatives encourage doctors to “powder everything.” The United States

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Settlement Agreement among United States,
John Murtaugh, Ali Mahdavi, and ACell, Inc.

 
 

 

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further contends that ACell’s promotion was false and misleading because, at the
direction of management, ACell sales representatives stated to physicians that the
use of powder non-topically and internally was safe and effective, when the sales
representatives knew that no such clinical data existed. Moreover, these intemal
uses of the product fell outside the FDA clearance.

(2) The United States contends that beginning in March 2012, ACell
provided coding recommendations to hospitals and long term care hospitals
(“LTCHs”) related to the use of ACell devices in the in-patient setting that were
incorrect and operated to improperly inflate retimbursenient from Medicare.
ACell referred to this strategy as “Bump the DRG.” These codes, including code
86.65 (heterograft to skin), did not accurately reflect the treatment rendered,
which would in tum lead to increased sales for ACell in the hospital and LTCH

setting.

The United States further contends that ACell created various “cheat
sheets” for distribution to hospitals and LTCHs that provided specific guidance to
hospitals and LTCHs on which inpatient procedure codes to use with ACell
devices in order to improperly increase the amount of reimbursement.

In December 2012 and again in November 2013, ACell consulted with
two separate coding consultants about the propriety of adding procedure code
86.65 when a health care provider used ACell’s product in the in-patient setting.
Both consultants informed ACell that the use of 86.65 was not appropriate
because ACell’s products were not a skin graft. Nevertheless, despite the advice
from its consultants, ACell continued to give improper DRG coding advice to
hospitals and LTCHs.

(3) The United States contends that ACell induced prescribers to order
ACell products by providing improper inducements, including entertainment and
speaker programs payments, designed to encourage orders from the health care
professionals who were the recipients of those inducements, and free product.
ACell classified the free product as “educational gifts” to physicians and
hospitals.

The conduct described above is referred to below as the “Covered Conduct.”

F, Except to the extent admitted in ACell’s guilty plea, this Settlement Agreement is
neither an admission of liability by ACell nor a concession by the United States that its claims
are not well founded. Except to the extent admitted in ACell’s guilty plea, ACell expressly

denies the allegations of the United States and the Relators set forth in the Civil Actions.

Settlement Agreement among United States,
John Murtaugh, Ali Mahdavi, and ACell, Inc.

 
 

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G. Relators claim entitlement under 31 U.S.C. § 3730(d) to a share of the proceeds of
this Settlement Agreement and to Relators’ reasonable expenses, attorneys’ fees and costs.

To avoid the delay, uncertainty, inconvenience, and expense of protracted litigation of the
above claims, and in consideration of the mutual promises and obligations of this Settlement
Agreement, the Parties agree and covenant as follows:

TERMS AND CONDITIONS

1, ACell shall pay to the United States and the Medicaid Participating States
collectively Twelve Million Dollars ($12,000,000) and interest on the Settlement Amount at a
rate of 2.875% from September 1, 2018 (Settlement Amount), which constitutes restitution to the
United States. On the Effective Date of this Agreement, this sum shall constitute a debt due and
immediately owing to the United States. The Settlement Amount is to be paid to the United
States and the Medicaid Participating States as follows:

a. $11,830,020 (plus accrued interest) shall be payable to the United States (Federal
Settlement Amount) pursuant to instructions from the Civil Division of the United States
Department of Justice.

b. $169,980 (plus accrued interest) shall be payable to the Medicaid Participating
States (State Settlement Amount) pursuant to instructions from the State Team.

c. The initial payment of Five-Hundred Thousand Dollars ($500,000), plus accrued
interest at the rate of 2.875% accrued since September 1, 2018 on the Settlement Amount, to the
United States shall be paid no later than seven (7) days after (i) this Agreement is fully executed
by the Parties and delivered to ACell’s attorneys, or (ii) the Court accepts a Fed. R. Crim. P.

11{c)(1)(C) guilty plea as to ACell and imposes the agreed upon sentence, whichever occurs

later.

Settlement Agreement among United States,
John Murtaugh, Ali Mahdavi, and ACcll, Inc.

 
 

 

 

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d. ACell shall pay the balance of the Federal Settlement Amount, plus interest at the
rate of 2.875%, in quarterly installment payments over the period of five years according to the

payment schedule attached hereto as Attachment A.

€, In the event ACell is sold or merged or a significant amount of assets of ACeil is
sold, merged, or transferred into another non-affiliated entity, then ACell shall promptly notify
the United States, and all remaining payments owed pursuant to the Settlement Agreement shall
be accelerated and become due and payable within fifteen (15) days of such transaction.

f. The entire balance of the Settlement Amount, or any portion thereof, may be
prepaid without penalty. If ACell elects to pre-pay the Settlement Amount or any portion
thereof, interest shall be accrued through the date on which ACell makes said pre-payment.

g. If ACell’s agreed-upon guilty plea pursuant to Fed. R. Crim. P. 11 in the matter of
United States v. ACell, Inc., Criminal Action No. [to be assigned] is not accepted by the Court or
the Court does not impose the agreed-upon sentence for whatever reason, this Agreement shall
be null and void at the option of either the United States or ACell. If either the United States or
ACell exercises this option, which option shall be exercised by notifying all Parties, through
counsel, in writing within ten (10) business days of the Court’s order, the Parties will not object
and this Agreement will be rescinded.

2, In the event that ACell fails to pay the Settlement Amount as provided in
Paragraph | or any of the installment payments noted in Paragraph 1.d., within ten (10) business
days of the date upon which each such payment is due, ACell shall be in Default of its payment
obligations (“Defauit”), In the event of Default, the United States will provide a written Notice
of Default to ACell, and ACell shall have an opportunity to cure such Default within ten (10)
business days from the date of receipt of the Notice of Default (“Cure Period”). Notice of

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Settlement Agreement among United States,
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Default will be delivered to Patrick A. McBrayer, President and CEO, ACell, Inc., 6640 Eli
Whitney Drive, Suite 200, Columbia, MD 21046. If ACell fails to cure the Default within the
Cure Period as described in this Paragraph (“Uncured Default”), the remaining unpaid balance of
the Settlement Amount shall become immediately due and payable, and interest on ACell’s
unpaid balance shall thereafter accrue at the rate of 12% per annum, compounded daily from the
date of Default, on the remaining unpaid total. The United States, at its sole option, may: (a)
offset the remaining unpaid balance from any amounts due and owing to ACell by any
department, agency, or agent of the United States at the time of Default; (b) collect the entire
unpaid balance of the Settlement Amount, plus interest, including 12% interest from the date of
Default, and all other amounts due upon the event of Default as specified in this paragraph; (c)
file a civil action for the Covered Conduct; or (d) exercise any other rights granted by law or in
equity, including referral of this matter for private collection. In the event a complaint is filed
pursuant to subsection (c) of this paragraph, ACell agrees not to plead, argue, or otherwise raise
any defenses under the theories of statute of limitations, laches, estoppel, or similar theories to
the allegations in the complaint, except to the extent such defenses were available to ACell on
June 21, 2013. ACell agrees not to contest any consent judgment, offset, recoupment and/or
collection action undertaken by the United States pursuant to this paragraph, either
administratively or in any state or federal court. ACeil shall pay to the United States all
reasonable costs of collection and enforcement under this paragraph, including attorneys’ fees
and expenses. ACell shall upon execution of this Settlement Agreement enter into a Consent
Judgment which at the United States’ sole discretion can be filed in the United States District

_ Court for the District of Maryland in the event of an Uncured Default.

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3. In the event of an Uncured Default, as defined in Paragraph 2, above, the OIG-
HHS may exclude ACell from participating in all Federal health care programs until ACeil pays
the Settlement Amount and reasonable costs as set forth in Paragraph 1, above. The OIG-HHS
will provide written notice of any such exclusion to ACeil, ACell waives any further notice of
the exclusion under 42 U.S.C. §1320a-7(b)(7), and agrees not to contest such exclusion either
administratively or in any state or federal court. Reinstatement to program participation is not
automatic. If at the end of the period of exclusion ACell wishes to apply for reinstatement,
ACeil must submit a written request for reinstatement to the OIG-HHS in accordance with the
provision of 42 C.F.R. §§ 1001.3001-.3005. ACell will not be reinstated unless and until the
OIG-HHS approves such request for reinstatement.

4. Conditioned upon the United States receiving the Settlement Amount payments
from ACell according to the schedule in Paragraph 1, the United States agrees that it shall pay to
Relator Murtaugh by electronic funds transfer 20% percent of each such payment received under
the civil Settlement Agreement as soon as feasible after receipt of the payment. No other
payments are due to any another person or relator.

5. ACell agrees to pay Relators and Relators’ counsel $222,500 in full satisfaction
of their claims for expenses, attorneys’ fees, and costs incurred in connection with the Civil
Actions under 31 U.S.C. § 3730(d), by electronic funds transfer pursuant to agreements between
ACell and Relators and Relators’ attorneys. No additional attorneys’ fees and costs shall be paid
or claimed by Relators or their counsel.

6. Subject to the exceptions in Paragraph 10 (concerning excluded claims) below,
and conditioned upon ACell’s full payment of the Settlement Amount and subject to Paragraph
24, below (concerning bankruptcy proceedings commenced within 91 days of the Effective Date

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of this Agreement or any payment made under this Agreement), the United States releases ACell,
together with its current and former parent corporations, current and former direct and indirect
subsidiaries, current and former brother or sister corporations, and the predecessors, successors,
transferees, and assigns of any of them {the “ACell Released Parties”) from any civil or
administrative monetary claim the United States has for the Covered Conduct under the False
Claims Act, 31 U.S.C. §§ 3729-3733; the Civil Monetary Penalties Law, 42 U.S.C. § 1320a-7a;
the Program Fraud Civil Remedies Act, 31 U.S.C. §§ 3801-3812; any statutory provision
creating a cause of action for civil damages or civil penalties for which the Civil Division of the
Department of Justice has actual or present authority to assert and compromise pursuant to 28
C.F.R. Part 0, Subpart I, 0.45(d); or the common law theories of payment by mistake, unjust
enrichment, and fraud.

7. Subject to the exceptions in Paragraph 10 below, and conditioned upon ACell’s
full payment of the Settlement Amount and subject to Paragraph 24, below (concerning
bankruptcy proceedings commenced within 91 days of the Effective Date of this Agreement or
any payment made under this Agreement), Relators, for themselves and for their heirs,
successors, attorneys, agents, and assigns, or any other person or entity acting on their behalf or
asserting their rights, fully and finally release, waive and forever discharge the ACell Released
Parties and all of their past and present parent corporations, successors, assigns, and each and all
of their current and former directors, officers, shareholders, attorneys, contractors, agents and
employees, individually and collectively, from any civil monetary claim the Relators have on

behalf of the United States for the Covered Conduct under the False Claims Act, 3] U.S.C. §§

3729-3733.

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8. In consideration of the obligations of ACell in this Agreement and the Corporate
Integrity Agreement (CIA), entered into between the OIG-HHS and ACell, and conditioned upon
ACell’s full payment of the Settlement Amount, the OIG-HHS agrees to release and refrain from
instituting, directing, or maintaining any administrative action seeking exclusion from Medicare,
Medicaid, and other Federal health care programs (as defined in 42 U.S.C. § 1320a-7b(f)) against
ACell under 42 U.S.C. § 1320a-7a (Civil Monetary Penalties Law) or 42 U.S.C. § 1320a-7(b)(7)
(permissive exclusion for fraud, kickbacks, and other prohibited activities) for the Covered
Conduct, except as reserved in this Paragraph and in Paragraph 10 (concerning excluded claims),
below. The OIG-HHS expressly reserves all rights to comply with any statutory obligations to
exclude ACell from Medicare, Medicaid, and other Federal health care programs under 42
ULS.C. § 1320a-7(a) (mandatory exclusion) based upon the Covered Conduct. Nothing in this
Paragraph precludes the OIG-HHS from taking action against entities or persons, or for conduct
and practices, for which claims have been reserved in Paragraph 10, below.

9. In consideration of the obligations of ACell set forth in this Agreement, and
conditioned upon ACell’s full payment of the Settlement Amount, DHA agrees to release and
refrain from instituting, directing, or maintaining any administrative action seeking exclusion
from the TRICARE Program agaimst ACell under 32 C.F.R. § 199.9 for the Covered Conduct,
except as reserved in this Paragraph and in Paragraph 10 (conceming excluded claims), below.
DHA expressly reserves authority to exclude ACell from the TRICARE Program under 32
C.F.R. §§ 199.9 (f)(1)@)(A), (HCDG@(B), and (£)(1 (iii) (mandatory exclusion), based upon the
Covered Conduct. Nothing in this Paragraph precludes DHA or the TRICARE Program from
taking action against entities or persons, or for conduct and practices, for which claims have been

reserved in Paragraph 10, below.

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10. Notwithstanding the releases given in paragraphs 6-9 of this Agreement, or any
other term of this Agreement, the following claims of the United States are specifically reserved
and are not released:

a. Any liability arising under Title 26, U.S. Code (Internal Revenue Code);

b. Any criminal liability;

c, Except as explicitly stated in this Agreement, any administrative liability,
including mandatory exclusion from Federal health care programs;

d. Any liability to the United States (or its agencies) for any conduct other
than the Covered Conduct;

e. Any liability based upon obligations created by this Agreement;

f. Any liability of individuals;

2. Any liability for express or implied warranty claims or other claims for

defective or deficient products or services, including quality of goods and

services;
h. Any liability for failure to deliver goods or services due; or
i. Any liability for personal injury or property damage or for other

consequential damages arising from the Covered Conduct.

11. Relators and their heirs, successors, attorneys, agents, and assigns shall not object
to this Agreement but agree and confirm that this Agreement is fair, adequate, and reasonable
under all the circumstances, pursuant to 31 U.S.C. § 3730(c}(2){B), and expressly waive the
opportunity for a hearing on any objection to this Agreement. Conditioned upon Relator
Murtaugh’s receipt of the payments described in Paragraph 4, Relators and their heirs,
successors, attorneys, agents, and assigns fully and finally release, waive, and forever discharge

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the United States, its agencies, officers, agents, employees, and servants, from any claims arising
from the filing of the Civil Actions or under 31 U.S.C. § 3730, and from any claims to a share of
the proceeds of this Agreement and/or the Civil Actions. |
12, Relators, for themselves, and for their heirs, successors, attorneys, agents, and
assigns, or any other person or entity acting on their behalf or asserting their rights, fully and

finally release, waive and forever discharge, the ACell Released Parties and all of their past and

present parent corporations, successors, assigns, and each and all of their current and former
directors, officers, shareholders, attorneys, contractors, agents, and employees, individually and
collectively, from any and all civil monetary claims and any liability, claims, allegations,
demands, claims for relief, rights, actions or causes of action of every nature whatsoever, suits,
debts, obligations, liabilities, losses, damages (including treble damages and any civil penalties),
punitive damages, costs and expenses of any kind, character or nature whatsoever, existing as of
the Effective Date of this Agreement, whether known or unknown, fixed or contingent, in law or

in equity, in contract or in tort, under any federal or state statute or regulation, or under common

law that Relators or their heirs, successors, agents, or assigns would have standing to bring,
whether or not related to or arising from the Civil Actions, or from any past activities and actions
of the ACell Released Parties, including without limitation, claims relating to or arising from the
filing of the Civil Actions, not limited to those Relators advanced or could have advanced in the
Civil Actions, and claims under 31 U.S.C. § 3730(d) for expenses or attorneys’ fees and costs.
The foregoing release does not affect the separate agreements between ACell, Relators and
Relators’ counsel that are referenced above in Paragraph 5. Subject to this exception, this

Paragraph is intended to be interpreted as a general release on behalf of Relators, who warrant

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and represent that they have not assigned or transferred any of their claims to any person, entity,
or thing.

13. ACell has provided sworn financial disclosure statements (Financial Statements)
to the United States and the United States has relied on the accuracy and completeness of those
Financial Statements in reaching this Agreement. ACell warrants that the Financial Statements
are complete, accurate, and current as of the date of execution of this Agreement. If the United
States learns of asset(s) in which ACell had an interest at the time of this Agreement that were
not disclosed in the Financial Statements, or if the United States learns of any misrepresentation
by ACell on, or in connection with, the Financial Statements, and if such nondisclosure or
misrepresentation changes the estimated net worth set forth in the Financial Statements by
$1 000,000 or more, the United States may at its option: (a) rescind this Agreement and file suit
based on the Covered Conduct, or (b) let the Agreement stand and collect the full Settlement
Amount plus one hundred percent (100%) of the value of the net worth of ACell previously
undisclosed. ACell agrees not to contest any collection action undertaken by the United States
pursuant to this provision, and immediately to pay the United States all reasonable costs incurred
in such an action, including attorneys’ fees and expenses.

14. In the event that the United States, pursuant to Paragraph 13 (concerning
disclosure of assets), above, opts to rescind this Agreement, ACell agrees not to plead, argue, or
otherwise raise any defenses under the theories of statute of limitations, laches, estoppel, or
similar theories, to any civil or administrative claims that (a) are filed by the United States within
thirty (30) calendar days of written notification to ACell that this Agreement has been rescinded,
and (b) relate to the Covered Conduct, except to the extent these defenses were available on June
21, 2013.

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15. ACell waives and shall not assert any defenses ACell may have to any criminal
prosecution or administrative action relating to the Covered Conduct that may be based in whole
or in part on a contention that, under the Double Jeopardy Clause in the Fifth Amendment of the
Constitution, or under the Excessive Fines Clause in the Eighth Amendment of the Constitution,
this Agreement bars a remedy sought in such criminal prosecution or administrative action.

16. -ACell fully and finally releases the United States, its agencies, officers, agents,
employees, and servants, from any claims (including attorneys’ fees, costs, and expenses of
every kind and however denominated) that ACell has asserted, could have asserted, or may assert
in the future against the United States, its agencies, officers, agents, employees, and servants,
related to the Covered Conduct and the United States’ investigation and prosecution thereof.

17, | ACell fully and finally releases the Relators and their heirs, assigns, attorneys,
and agents from any claims, including any and all claims, claims for relief, actions, rights, causes
of actions, suits, debts, obligations, liabilities, demands, losses damages, punitive damages, costs
and expenses of any kind, character or nature whatsoever existing as of the Effective Date of this
Agreement, whether known or unknown, fixed or contingent, in law or in equity, in contract or in
tort, under any federal or state statute or regulation, or in common law, or otherwise that they,
their heirs, successors, agents and assigns otherwise have standing to bring, whether or not
related to the Civil Actions. This Paragraph is intended to be interpreted as a general release,
and the ACell Released Parties warrant and represent that they have not assigned or transferred
any of their claims to any person, entity, or thing. ACell reserves any defenses or claims as to
Relators’ unresolved claims in the Civil Actions or Relators’ counsel’s claims for reasonable
attorneys’ fees, expenses, and costs resulting from the Civil Actions or other action brought by
Relators against ACell,

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18. The Settlement Amount shall not be decreased as a result of the denial of claims
for payment now being withheld from payment by any Medicare contractor (e.g., Medicare
Administrative Contractor, fiscal intermediary, carrier), TRICARE carrier or payer, or any state
payer, related to the Covered Conduct: and ACell agrees not to resubmit to any Medicare
contractor or TRICARE carrier or payer or any state payer any previously denied claims related
to the Covered Conduct, agrees not to appeal any such denials of claims, and agrees to withdraw
any such pending appeals.

19. ACell agrees to the following:

a. Unallowable Costs Defined: All costs (as defined in the Federal

Acquisition Regulation, 48 C.F.R. § 31.205-47; and in Titles XVIII and XIX of the Social
Security Act, 42 U.S.C. §§ 1395-1395kkk-1 and 1396-1396w-5; and the regulations and official
program directives promulgated thereunder) incurred by or on behalf of ACell, its present or
former officers, directors, employees, shareholders, and agents in connection with:

(1) _ the matters covered by this Agreement and any related plea agreement;

(2) the United States’ audit(s) and civil and any criminal investigation(s) of
the matters covered by this Agreement;

(3) ACell’s investigation, defense, and corrective actions undertaken in
response to the United States’ audit(s) and civil and any criminal
investigation(s) in connection with the matters covered by this Agreement
(including attomeys’ fees);

(4) the negotiation and performance of this Agreement and any Plea

Agreement;

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(5) the payment ACell makes to the United States pursuant to this Agreement
and any payments that ACell may make to Relators, including costs and
attorneys’ fees; and

(6) the negotiation of, and obligations undertaken pursuant to the CIA to: (i)
retain an independent review organization to perform annual reviews as
described in Section III of the CIA; and (11} prepare and submit reports to
the OIG-HHS

are unallowable costs for government contracting purposes and under the Medicare Program,
Medicaid Program, and the TRICARE Program, (hereinafter referred to as Unallowable Costs).
However, nothing in paragraph 19.a.(6) that may apply to the obligations undertaken pursuant to
the CIA affects the status of costs that are not allowable based on any other authority applicable
to ACeli.

b. Future Treatment of Unallowable Costs: Unallowable Costs shall be
separately determined and accounted for by ACell, and ACell shall not charge such Unallowable
Costs directly or indirectly to any contracts with the United States or any State Medicaid
program, or seek payment for such Unallowable Costs through any cost report, cost statement,
information statement, or payment request submitted by ACell or any of its subsidiaries or
affiliates to the Medicare, Medicaid, or TRICARE Programs.

c, Treatment of Unallowable Costs Previously Submitted for Payment:

ACell further agrees that within 90 days of the Effective Date of this Agreement it shall identify
to applicable Medicare and TRICARE fiscal intermediaries, carriers, and/or contractors, and
Medicaid and fiscal agents, any Unallowable Costs (as defined in this Paragraph) included in
payments previously sought from the United States, or any State Medicaid program, including,

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- but not limited to, payments sought in any cost reports, cost statements, information reports, or
payment requests already submitted by ACeil or any of its subsidiaries or affiliates, and shall
request, and agree, that such cost reports, cost statements, information reports, or payment
requests, even if already settled, be adjusted to account for the effect of the inclusion of the
Unallowable Costs. ACell agrees that the United States, at a minimum, shall be entitled to
recoup from ACell any overpayment plus applicable interest and penalties as a result of the
inclusion of such Unallowable Costs on previously-submitted cost reports, information reports,
cost statements, or requests for payment.

Any payments due after the adjustments have been made shall be paid to the United
States pursuant to the direction of the Department of Justice and/or the affected agencies. The
United States reserves its rights to disagree with any calculations submitted by ACell or any of
its subsidiaries or affiliates on the effect of inclusion of Unallowable Costs (as defined in this
Paragraph) on ACell or any of its subsidiaries or affiliates’ cost reports, cost statements, or
information reports.

| d. Nothing in this Agreement shall constitute a waiver of the rights of the
United States to audit, examine, or re-examine ACell’s books and records to determine that no
Unallowable Costs have been claimed in accordance with the provisions of this Paragraph.

20,  ACell agrees to cooperate fully and truthfully with the United States’
investigation of individuals and entities not released in this Agreement. Upon reasonable notice,
ACell shall encourage, and agrees not to impair, the cooperation of its directors, officers, and
employees, and shall use its best efforts to make available, and encourage, the cooperation of
former directors, officers, and employees for interviews and testimony, consistent with the rights
and privileges of such individuals. ACell further agrees to furnish to the United States, upon

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request, complete and unredacted copies of all non-privileged documents, reports, memoranda of
interviews, and records in its possession, custody, or control concerning any investigation of the
Covered Conduct that it has undertaken, or that has been performed by another on its behalf.

21. This Agreement is intended to be for the benefit of the Parties only. The Parties
do not release any claims against any other person or entity, except to the extent provided for in
Paragraph 22 (waiver for beneficiaries paragraph), below,

22. ACell agrees that it waives and shall not seek payment for any of the health care
billings covered by this Agreement from any health care beneficiaries or their parents, sponsors,
legally responsible-individuals, or third party payors based upon the claims defined as Covered
Conduct.

23. ACell warrants that it has reviewed its financial situation and that it currently is
solvent within the meaning of 11 U.S.C. §§ 547(b)(3) and 548(a}(1)(B)(ii)(1), and expects to
remain solvent following payment to the United States of the Settlement Amount. Further, the
Parties warrant that, in evaluating whether to execute this Agreement, they (a) have intended that
the mutual promises, covenants, and obligations set forth constitute a contemporaneous exchange
for new value given to ACell, within the meaning of 11 U.S.C. § 547(c)(1), and (b) conclude that
these mutual promises, covenants, and obligations do, in fact, constitute such a contemporaneous
exchange. Further, the Parties warrant that the mutual promises, covenants, and obligations set
forth herein are intended to and do, in fact, represent a reasonably equivalent exchange of value
that is not intended to hinder, delay, or defraud any entity to which ACell was or became
indebted to on or after the date of this transfer, within the meaning of 11 U.S.C. § 548(a)(1).

24. —‘If within 91 days of the Effective Date of this Agreement or of any payment made
under this Agreement, ACell commences, or a third party commences, any case, proceeding, or

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other action under any law relating to bankruptcy, insolvency, reorganization, or relief of debtors
(a) seeking to have any order for relief of ACell’s debts, or seeking to adjudicate ACell as
bankrupt or insolvent; or (b) seeking appointment of a receiver, trustee, custodian, or other
similar official for ACell or for all or any substantial part of ACell’s assets, ACell agrees as
follows:

a. ACell’s obligations under this Agreement may not be avoided pursuant to
11 U.S.C. § 547, and ACell shall not argue or otherwise take the position in any such case,
proceeding, or action that: (1} ACell’s obligations under this Agreement may be avoided under
11 U.S.C. § 547; (ii) ACell was insolvent at the time this Agreement was entered into, or became
insolvent as a result of the payment made to the United States; or (iii) the mutual promises,
covenants, and obligations set forth in this Agreement do not constitute a contemporaneous
exchange for new value given to ACell.

b. If ACell’s obligations under this Agreement are avoided for any reason,
including, but not limited to, through the exercise of a trustee’s avoidance powers under the
Bankruptcy Code, the United States, at its sole option, may rescind the releases in this
Agreement and bring any civil and/or administrative claim, action, or proceeding against ACell
for the claims that would otherwise be covered by the releases provided in Paragraphs 6-9,
above. ACell agrees that (i) any such claims, actions, or proceedings brought by the United
States are not subject to an “automatic stay” pursuant to 11 U.S.C. § 362(a) as a result of the
action, case, or proceedings described in the first clause of this Paragraph, and ACell shall not
argue or otherwise contend that the United States’ claims, actions, or proceedings are subject to
an automatic stay; (ii) ACell shail not plead, argue, or otherwise raise any defenses under the
theories of statute of limitations, laches, estoppel, or similar theories, to any such civil or

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administrative claims, actions, or proceeding that are brought by the United States within thirty
(30) calendar days of written notification to ACell that the releases have been rescinded pursuant
to this Paragraph, except to the extent such defenses were available on June 21, 2013; and (iii)
the United States has a valid claim against ACell in the amount of $54,805,185 and the United
States may pursue its claim in the case, action, or proceeding referenced in the first clause of this
Paragraph, as well as in any other case, action, or proceeding.
c. ACell acknowledges that its agreements in this Paragraph are provided in
exchange for valuable consideration provided in this Agreement.
25. Upon receipt of the initial payment described in Paragraph 1.c., above, the Parties
shall promptly sign and file:
a. In Action No. ELH-13-1820 (D. Md.), a Joint Stipulation of Dismissal of the
Civil Action pursuant to Rule 41(a)(@). The Stipulation of Dismissal shall be with prejudice as
to the United States’ and Relator’s claims against ACell as to the Covered Conduct and shall be
without prejudice to the United States and with prejudice to the Relator as to all other claims
against ACell.
b. In Action No. SEALED (E.D. Wisc.), a Joint Stipulation of Dismissal of the Civil
Action pursuant to Rule 41(a)(2} that will dismiss ACell. The Stipulation of Dismissal shall be
with prejudice as to the United States’ and Relator’s claims against ACell as to the Covered
Conduct and shall be without prejudice to the United States and with prejudice to the Relator as
to all other claims against ACell.
26. Except as set forth in Paragraph 5, each Party shall bear its own legal and other
costs incurred in connection with this matter, including the preparation and performance of this
Agreement.

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27. Each party and signatory to this Agreement represents that it freely and
voluntarily enters into this Agreement without any degree of duress or compulsion.

28. This Agreement is governed by the laws of the United States. The exclusive
jurisdiction and venue for any dispute relating to this Agreement is the United States District
Court for the District of Maryland. For purposes of construing this Agreement, this Agreement
shall be deemed to have been drafted by all Parties to this Agreement and shall not, therefore, be
construed against any Party for that reason in any subsequent dispute.

29, —‘ This Agreement constitutes the complete agreement between the Parties. This
Agreement may not be amended except by written consent of the Parties.

30. The undersigned counsel represent and warrant that they are fully authorized to
execute this Agreement on behalf of the persons and entities indicated below.

31. This Agreement may be executed in counterparts, each of which constitutes an
original and all of which constitute one and the same Agreement.

32. This Agreement is binding on ACell’s successors, transferees, heirs, and assigns.

33. This Agreement is binding on Relators’ successors, transferees, heirs, and assigns.

34. All parties consent to the United States’ disclosure of this Agreement, and
information about this Agreement, to the public.

35. This Agreement is effective on the date of signature of the last signatory to the
Agreement (Effective Date of this Agreement). Facsimiles and electronic transmissions of

signatures shall constitute acceptable, binding signatures for purposes of this Agreement.

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DATED: BINA - BY:

DATED: AWS /20l4 BY:

DATED: BY:

DATED: BY:

Settlement Agreement among United States,
John Murtaugh, Ali Mahdavi, and ACell, Inc.

 

TES OF AMERICA

 
  

TH@MAS CORCORAN
Assistant United States Attorney
District of Maryland

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MICHAEL D. GRANSTON
JAMIE A. YAVELBERG
NATALIE A. WAITES
Commercial Litigation Branch
Civil Division

United States Department of Justice

 

LISA M. RE

Assistant Inspector General for Legal Affairs

Office of Counsel to the Inspector General

Office of Inspector General

United States Department of Health and Human Services

 

LEIGH A. BRADLEY

General Counsel

Defense Health Agency

United States Department of Defense

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THE UNITED STATES OF AMERICA

 

DATED: BY:
THOMAS CORCORAN
Assistant United States Attorney
District of Maryland

DATED: BY:

 

MICHAEL D, GRANSTON
JAMIE A. YAVELBERG
NATALIE A. WAITES
Commercial Litigation Branch
Civil Division

United States Department of Justice

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LISA M. RE
Assistant Inspector General for Legal Affairs
Office of Counsel to the Inspector General
Office of Inspector General
United States Department of Health and Human Services

DATED: BY:

 

LEIGH A. BRADLEY

General Counsel

Defense Health Agency

United States Department of Defense

Settlement Agreement among Uniied States.
John Murtaugh. Ali Mahdavi, and ACell. Inc.

 
Case 1:19-cr-00282-ELH Document 13 Filed 06/11/19 Page 64 of 68

THE UNITED STATES OF AMERICA

DATED: BY:

 

THOMAS CORCORAN
Assistant United States Attorney
District of Maryland

DATED: BY:

 

MICHAEL D. GRANSTON
JAMIE A. YAVELBERG
NATALIE A. WAITES
Commercial Litigation Branch
Civil Division

United States Department of Justice

DATED: BY:
LISA M. RE
Assistant Inspecter General for Legal Affairs
Office of Counsel to the Inspector General
Office of Inspector General
United States Department of Health and Human Services

DATED: i. gy A A { Zu-py: SERNA ~~
0 LEIGH A. BRADLEY ™

' General Counsel
° Defense Health Agency
United States Department of Defense

 

 

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Setikement Agreement among United States,
Joba Murtaugh, Ali Mahdavi, and ACcll, Inc.

 
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Case 1:19-cr-00282-ELH Document 13 Filed 06/11/19 Page 65 of 68

DEFENDANT

 

patep: $4 19 BY:

Patrick/McBrayer
President and Chj xecutive Officer

ACell, Inc.

DATED: £ {9/14 BY: ; Ta
Melissa Bayer Tearney
Choate, Hall & Stewart, LLP

Counsel for ACell, Inc.

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Settlement Agreement among United States,
John Murtaugh, Ali Mahdavi, and ACell, Inc.
Case 1:19-cr-00282-ELH Document 13 Filed 06/11/19 Page 66 of 68

DATED:

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DATED:

DATED:

04/15/2019

4/15/2019

BY:

BY:

BY:

BY:

Settlement Agreement among United States,

John Murtaugh, Ali Mahdavi, and ACell, Inc.

RELATORS

hia

John Murtaugh

 

Jamés Youn. Esq. }
Morgan and Morgan :

Counsel for John Murtaugh

 

Ali Mahdavi

 

Nola Cross, Esq.
Cross Law Firm
Counsel for Ali Mahdavi

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Case 1:19-cr-@0282-ELH Document 13 Filed 06/11/19 Page 67 of 68

 

 

i i |
RELATORS
DATED: _ BY:
John Murtaugh
DATED: _ BY: _.
James Young, Esq.
Morgan and Morgan

Counsel for John Murtaugh

DATED: 05/ ot facitpy, — Ab Wabbit’

Ali: Mahdavi

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“ola J. Hitchcock Cross; Esq.
foal Law Firm
Counsel for Ali Mahdavi

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Sctdement Agreement among United States,
John Murtangh, Ali Mubdavi, and:ACeli, Inc,

 

 
 

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ACell, Inc.
Civil Federal
2.875%

Quarter Payment Interest Principal Balance

$11,830,026.00
6/12/2019 $763,704.1] $263,704.11 $500,000.00 $11,330,020.00
9/12/2019 $480,284.52 $8 1,434.52 $398,850.00 $10,93 1,170.00
12/12/2019 $477,417.78 $78,567.78 $398,850.00 $10,532,320.00
3/12/2020 $474,551.05 $75,701.05 $398,850.00 $10,133,470.00
6/12/2020 $471,684.32 $72,834.32 $398,850.00 $9,734,620.00
9/12/2020 $678,400.30 $69,967.58 $608,432.72 $9, 126,187.28
12/12/2020 $674,027.19 $65,594.47 $608,432.72 $8,517,754.56
3/12/2021 $669,654.08 $61,221.36 $608,432.72 $7,909,321.84
6/12/2021 $665,280.97 $56,848.25 $608,432.72 $7,300,889, 12
9/12/2021 $660,907.86 $52,475.14 $608,432.72 $6,692,456.40
12/12/2021 $656,534.75 $48,102.03 $608,432.72 $6,084,023.68
3/12/2022 $652,161.64 $43,728.92 $608,432.72 $5,475,590,96
6/12/2022 $647,788.53 $39,355.81 $608,432.72 $4,867, 158.24
9/12/2022 $643,415.42 $34,982.70 $608,432.72 54,258,725.52
12/12/2022 $639,042.31 $30,609.59 $608,432.72 33,650,292.80
3/12/2023 $634,669.20 $26,236.48 $608,432.72 $3,041,860.08
6/12/2023 $630,296.09 $21,863.37 $608,432.72 $2,433,427.36
9/12/2023 $625,922.98 $17,490.26 $608,432.72 $1,824,994 .64
12/12/2023 $621,549.87 $13,117.15 $608,432.72 $1,216,561.92
3/12/2024 $617,176.76 $8,744.04 $608,432.72 $608,129.20
6/12/2024 $612,500.15 $4,370.93 $608,129.20 $0.00

$12,996,969.86 $1,166,949.86 $11,830,020.00

Note:

1. The Initial] Payment includes handshake interest from 9/1/2018 through 6/11/2019 (283 days).

Attachment A
